CaSe 1-19-40750-nh| DOC 10-2 Filed 03/22/19 Entered 03/22/19 11212:13

EXHIBIT A

CaSe 1-19-40750-nh| DOC 10-2 Filed 03/22/19 Entered 03/22/19 11212:13

 

 

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NlEl‘l-?l F'i'tttrt:tr ntl£t-ti?t]-l_l$i"l N_v

minn 1a anna § ‘ nt~:t.att.t.tr nw wit
l |l.\:ttnl !t"_‘i.‘_',tl - [.‘itlt\;_-}
tt\_ltt V`AN l."rUEER STREE“l"
STA`|`EN ll:SL_AND, N‘t' 1030'%
{|'ttrtrctty Adi¢n_:u]
t. ttnt:`tttnwatt's Pnnnnsn rn ray .
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"I'tt'ttt:ipal"}, plus £:ttttrttst, m thc nrr.'lr:r ta_l` l.lte l,t:r:t.(t‘.r. 'l`lttt l_.t:nt‘lt:.' in klankl,ln]md, F$lil

l t
l will malta all payments tmtlt:t tlri.~t Natt; in rita f`nrrrt nl'cnstb. clt¢t‘lt nr mt;nt-.y ardar.
l vlll_il-`f$ll'»'t‘tti llt-'Sl tile Len¢l¢r mét}' lrittt§l't-‘t this N<tfr-‘. `l`ltt.t l,endnr ns rtnynttt: who tal:nt thin Nn¢u by t'r'ain-.t‘t\r ann wltn i.~t
entitled ta r¢:t:ivc payments under tlti.ti tht'n ii t-.alltrri tim "Nota J‘lq|tlar."

2. tnt't't¢:ttr;:;'t‘

lt\tt.‘t‘t'trii Wiil brt t.'ln.tt'£;t~.d nn unpaid principal until this fitii amount :Ji'ilrin.t:ipt=.l has iact:n par'¢;l_ l will pay irttttr¢:\t at a j,'t_-.nrly
t'tt$t: r.tl' _ ?',25|3»0¥1{,. ` `

'l'lit: interest ral<r .t't:tntit‘atl lay this St:atittn 2 itt tltt.". rittt: l will pay ninth L\t:l`t>r'ct :tntl after any t_l¢:l`an!r- ria:tt;t'il)t:.il in l~_int:tt`t;tn
G{H) t.\l"tl'ti.=t Ntrt:r.

 

3. PAWEN`I`S

{Al i'l`imn and Plnca al Payrrtt:rtt`s

lwilj pay principal and interest bymal»:iag a pay'mr.-ntt:\‘t:q,' marttli

Iwill trt-alta my rt'ttrntl't|y payment nn the ‘lst clay nl' tt:tt:h month beginning an M.ay 2005
l will titch thare payntetttt every rnnntlt ttnt'tl l have paid all of lite principal and intath and any other charges nascr-ilmtl
below t.ttat l may nwa under tlris l‘lntc, l_Eat:l~t monthly paymai.tt will br applied tt_tt nFits snhadnl:d tttrr: date and will his applit-.cl
tn interest before Prinai;rat lr, an Apri|‘t}‘t, 2035 , t guilt own ammann initial this Nata. l wt_n pay chase
amounts in t'ttll art that slatt:, which is called tln_~ “lttaturity'l')atc." t '

l will tttal;r nt_'r monthly payments at `f£l“l§ NW 143 ST., MlAl`tfll LAKEES¢ FL 330'$&`

 

tn at a clil`l'¢'trt~.nt place t`£'r\\,t]r'tirt.'tl by t.lnr N<ttt: l.ltrltit'r`
(l`ii' E.-Ut‘tttttrtl ctf."rluttthly I‘ng,'rncr'tl.t
lvly t_t'tn)t'ttlrl§.r payment will ln: in tlttt amount nl'l.l.$i 232.143.35

-t. r_tt)t,tnij)wt=:n“s.; ntt';tt‘t' 't't;) t\ttti:t’,ty

` l llll\"-' :l“-* liSI`-l T¢l "'l"-\l’\€ _t"~*.‘»'lltt»‘llifi br l‘t'll-l'€ilt‘~*l -`ll <W.‘»' little before they ritar t:lttt:d A payment rif l’rlni_-i;_-nil only la known art
it "t"rt:pa_t»trtcnt." Wltr.‘n `l malin tt l'rtrpayntertt_ l will tt:!l tlta l\‘irlt-. littlth in writing tl'tat] am during trn. l may inn ttt_».~iignarn a
Pll¥l“'=“l;-TL -‘1 P’¢'l-‘lllyn~tttnt l|'| lravtr not tln:n;ia all tln.~ inantllly payments tina under tlrr.~ Nnn:.

l may make a l'ull Prtrpaymt_“nt ctr pt:zrtt`nl l’t't"na).'n:t:nts witlrnnt'paying a l-‘rt:pttymcnt altarga. 'lln: Ntrttt linltlttr will usa my
Frepaym`crtts tn r:dntta tl:-t_- atrtnttnt at'. Princip:tl thin l nwa trailer this Nate. Tlntt-cvt:r, tha Nart= llalrl¢r may apply my
.“rtrp.-iyme,ltt to tlta accrued art<l unpaid interest fm tlttt Prepa;,-rncrrt amount__ l-)¢-,i`nrt: applying tt'ty l’rt*pa},~r'ttt:ttt to nttltit~¢ tl:t:
l*rt'nt:l`]rnlfarnnunt ufllvr t\'t:m_~. ll‘[ maltt."n ;mrrl:tl F'rt-,payma-r.t, there will bar nn changes in th:t due date cn- jn the amount nl-`n-iy
mnnth.ly ;g.‘taymt:ltt unless the »'\':rtc: l.-lnlt.lar agrees in writing1 ltv those citangcst.

.‘\'t-:W \'(Jtttt t-'t.‘ti_-'.lt it,.t`t'r'.i\`t.t'l P.‘ -_.=¢it=_._-,lt: l':;_itiity-----t~'imni`¢t .\tiwrt»'i-¢.mit= M.-i.,- lmrr'ttu.xt t.~tts‘:‘tttsn-|tij¢t t' t'.t,»m ;tzj_t mir
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C¢:ir.
Jr!-.ti _.'alt.‘t_ t,ttn t.'t ;'.".;_-_;.;- t of .i ,-.~ii,;--r_t tit ¢t.-tn_ir t_wt- \.ant.

 

 

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ira 1'1“‘“» Wlll¢h upi-liles lU this lnnn and wltielt sets ntartitrtum loan energiesl itt l'tn:dty interpreted so tltnt the interest or

other loan charges collet-ted or in lie eolloctet.l itt etrntteet'tot: \eil|'t tltitt loan exceed !ltt: pemu't-ter| ljrnit,t., them (n) any etre-h
tenn entitled el'tn|l be reduced by the amount necessary to terltrt:e tire charge to the permitted limil; and {_l'r) atty sums elreod,tn
eolleetttti‘it'rntrt rntr which exceeded permitted limits will lie refunded to me. 'l`ln- Note liolder array choose to trtal.'e title refund

lay reducing lite Prineipai l owe under-this i~t‘ott: or ny nothing a r|irnt_-r prryntont rn mo lt' rt refund rr_~r_loor:s illinoip;.tl, the
rodttett'ort` t\-i|l bo treated as a partial l`-lret'sayt-,tt,-nt_

lit IiElR_,R(`)WER’S FAU.,URE 'l`() Pr‘tY A.‘:i REQUIMI.`}

(A.l iL-ate (_‘horge for titt‘erdue pn)*trtents `
lflhti t"lnte Hctltler has not receit'edithe l"u|| amount td'any monthly payment by the end ol' 15 calendar
doss nl`tet" the date it is doo, l will pay rt late slurrge to the Note l-lolde~.r. 'l'ht: tennant <tl'thrr charge will l_tt: 2.0€|09%

ol‘trty neirnue payment ol'|rrittcipal atttl interest Iwill tiny this late charge promptly hot only once ottest:h tate payment -

ttst interests , -

ll`l rio not troy lite l`tr|l amount ol` ea_elr rnontltl,'.l payment ott the date lt is due, l will ha in del'aalt.

(l'-`] _ii'\'nlit‘.e nl'llel`ttttit . .

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certain tln;te, the Nnte ltlnltler entry require trte to pay immediately the fall ttnttntrrt oFPrtttt:ipal which hits not been paid and all
the interest that l owe on that ontt:nrnt. 'l`l:ttt t|ttte truitt irc at least 30 days after the slate on which the notice is mailed to me or
delivered-by other means t t -

int imminently nine winner t ' t

E‘"d'll iii -'tf lt little when l tim in det`rmlt, lite l`~lotn ilnltlet‘ does rtttl require me t'o troy imtnet‘li;ttt:l§tt in llull er tlnsortlat:d
:t!~trn'e. the i\iote i~lttl_t.lor`tttill still ltrtt'tt tl'io tight to do so il'l atu in dt_-i`ttult tit a later h`¢nn_

(liil flaytttettl of Nt:t'e l‘ltrltlot'ls <_"?\osts atul .lt`.tt'l‘tertses `

litllt:‘ l‘\t'rttt; l‘loldet' has required mo to pay intrtttttlirttt¢ly in full ns nrret,-rt'i:»otl nlntvo` rlto l_\loto lighter will ho ne the right to
bill l`l‘lllf Ell\‘~`l¢ l-*_i' tile l`Ol' ttii nt"its costs and expenses in enforcing tl.ii.'t Noto tn the extent not prohibited lay applicable law.
'l`ltnse expenses inelut;lo_ t'nr attrt_tnplo, reasonable nllorrtr-.},-sl leos.

 

7'. ('}Tl\’_L-"l\'.'s' O¥i‘ i‘t‘(.`l"l'l'{:.`it"§$

Unle'ss applicable law requires n dillerer\t trtetltt:-t:la any notice that most lie given to tate under this Note will be given try
delivering it ctr by mailing it lay i`rrst class mail to me st the Prnpert_-,r Arltlrors above or st rt tlitl"ttt'ertt address l('l give the l\.‘ott:
Hnltir:r o ;notir:e ol my differ enr nddrttss,'

Any‘ttott'ee Ll\ttl must be given tel llie N<Jte .l-ioltit:r tender this Not‘o will he given by deliver
t:|ase rns_i;l to tire Nott: l'loldel at lite ndelttt$s stated in S¢¢tjon 3(,¢\) elmore ns -,tt sr tiil`ll;r¢trtt richie-rv
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liman then one person signs this Nt.tle. snell person is inlly and personally obligated to keep nil ol' tile promises marie in
this Nnt'_*', including the promise to pay the l't.tll trrnonnt noted t\.rty person who is a guarantor, surety or endorser oftltlr Noto
is also obligated to do these things ¢'tny person who wires ot-er these obligations including the obligations ol` n gtrtttnntor,
suretyl or_erttlorstrr of this Ntrte. is nlstt obligated to lteerr eli of the promises mode in this Noto `.l'ht_~ `Note l-lolner may enteree
il-'l ridth .`W"d'=r liti~°- 'N<tle ttr_tnittat each person ittdteidoo.lly or against all nine togotltert ‘l'ltis means that tiny otte` of us may be
required to pay n]! ol` the amounts owed‘ under this Nnt:_.
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l mill i'lli' <lfi=i-‘=` iJN’='OH \'-'lll> ll'!-"' ill‘illitlli='ll!i tltttlt:t‘ t|tt`s Nttttt waive ti-.e rights nt' l"rest_-ntruent atttf Nntioo nl' l.'J'tsltnnnt:
".l‘rrscttttitertl" t!tt.~.-trts lite right tn require tile Nols I‘ittltlnr tn t'lt:tr:rtr\t'l payment ol` att.ronnt.t don "Notr`t:tt ol'llisltonot" insane _
lite rl_t;tltt to require t.lu; l\'nie l--lttltlt,-r to give notice to nlltt‘.r persons tlntt ntrtnutn.s dnr inure not litton _nrnrl_

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ns this i'\.'ttto, protects lite i~lt\rt_‘ ."!trltit'.t l`t‘ttrtt possible losses witir,lt might result it'.' tin not keep tl-tt.- promises t\'h'tolt l rnnlro itt

   

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ll' Borrctwt'.r is ttt'tl n natural person grid rt beneficial interest in l.lortowe,r is sold or t.t'etttti'errr;tl without l.e..'ttittt`s prior
written pemtissiott. I,,em:ler elect may require immediate payment in it`rtll. l-lo\nnver, title option shall nor lie exercised
lot Letttler ii such exercise t's prohibited by repetition t.rrw. l \.

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begin ott the tittle the notice is given tn rrre in the trtnn:ter required by gggtign i:,' ve nga gmth hmhmmm ]H cm
not t_natlte tire required payment during that period Lettclet‘ tony ant to etti.`orce its rights nrtt'ler tlti.=t liet‘.ttrit~_r
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Hon_ Stcphen J. Fiala, Cmmty Clerlc acs~uaoonuouumzsas»ouunnnuuozssazr.~ow
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Apr"ll 0“1. 2033

(`i*') “£'r.':pcr!y." `l'i:c pu':;:=_-L'\y !!1:\1 is ci;~<_‘.c:r'ihmi \w-:\r)w in l|:¢-. auctian filled “Ei;\'.'suri;uim\ of eha I’mpcrry," will h<: cemch fmc

“|":c;;xc¢ c}.'. "

,-\;;§\\\-\/(\1{\;._¢;,,\:_;!¢_. g;q,`\`\y..._\'=n,,,1g.¢ ,\»=\Luz-"r¢¢|.m\ m{a: ¢.‘NlF(`JN:\l lNSTR L‘P~li‘.r‘~"[' ¥w'rn JUJ! lr{H
.y.»=»u:m=n. **
;r¢.:r_,;,»q"‘u ;(,¢|;,A,.angl H‘e;g¢" j pf Fd','m_»}.-\s! fr:€':l<l:r l;.;rf. l-%L"{r-R'\\E-h`r!$

 

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((',`) "*l__¢t;md" "[`trtr "l_tnm" means tl|.: clgsl:r avt`rlt;rt;-,t:tt by '.l:t‘. Nttt::, plus irttt:rt.-ttt‘ atty t_'tt".: ttyrr\t:tlt r.'tl)ur'r;~:,s ttrn'| |.ttt: clt:t.rgc:t ¢ltttt
timing nw |\_',DL,,,` mut art wing r_l._m m;tj<_-r rl-.r'r Sn;:ur-ity instruman r.\lttt‘- ttttt‘.t‘t'S-l.

ll'tl) "St.trr't.t St:t:ttt'\:tlt“ `l'n':. :trxtotht duttt;:‘titt:tl l`\t.'law tt't tim scc.[tn:: tillt'.l ‘"rit:t't't:\vttt"& 'l`ttttt‘.ii`f.!'»' l“ l-t-'"'-l@l fll" lill§llil ill lll¢
Prqr;n;rry" srrmctimt;;_; will ha uttll<tr'.l that "."_ittttts lit::ttr'ctl\"

ill “llltlttr“t.“ ftli llt`rlt:rt- nttnt:ltt‘.tl to t|ti.t Sc:t".tttly l!t.*.~lrtnn<:ttr t‘tt:tl ttrn t‘-ll`§ttl:tl by l}nrrt:»tvt:l' will ltc t'.ttl`:t*.t‘l "?~'\lr.lC-fst" "l'ttt:
Ft)llnwinr,; l?.it|er.t nrc to bit .\tig;ttct.l` try l'?.ttt‘r<tw=‘-f lClll‘»l'-l¢ blm 15 il.=lFJll\`-Illlll'-l? `

l__l A¢';jrrrt-nbl¢ lam It_i¢lcr l:l t`_ittr)clutnlt:timrt Elltlrrr l_ l fict:<rrttl ll¢‘ttt'tr: ¥l.i`tlt:r

 

 

L-_l littllctm Ri\lr:~; m E‘|.'.tz~_ut:rl l`lrtt! l..lt“,v.';llnpms‘.ltl El.it:lt:t' l__l'{l L'Jt.ltcrl$) lt.“pt:ci!`“,t] LEGAL
__._ l:lEElCRlP"l-lfl[`€
l-¢l t"'r:rnily li'.t`tlt:r' l__l l-th\‘-'t:t:l<ly I‘t\ytrtttrtl llitl:t'

(J) ",\pplir;ahtr t_ntw_" _~\ll controlling applicable r"ut~'.¢:rtrt, ttt-atr: ttrttl lt‘tmtl Stttttttttt, rC!:\-'l‘-llll-lll‘)'. 'll"lllllall'!==$ tl-tl¢l
tttlt‘ttitttsut\tivct :'ttlt.‘s ttt'tt.l t>t‘tl»:t“.t [tltat l:rwt'. tltu r_‘t“t`t:ct <rfluw) as wall w tt`.=l tt;r;tli:nlr§c lit'l;tl, tmrt-ttr);rt-nlaltlc: judicial npittittrrr_
will l)t.' trailt!-:.". "Appll`t'.nltltr l,ttw."

(t\') "tj:nnnnnnitr .t;mctnttn:t nn¢s. t"m. nnrt tt.~.'te.r.rrnentr." All dunn t'r-.nr, assessments mtd trthttr thwart that m
irnr‘m.rctl n:t l.`lcrr'rt.\tv¢r or the tlrt:tPr:-rt§' by tt ctrntlntrtirtiu;n :n.=.m:itttictrt. ttnrrtt:tttvttcr: :t.snrt::i:ttitm ctr nirtt".lttt‘ ttt'§atttt`t::ttitttt will tnt
nnllr.-.‘l “t'_`ortttttttt‘.ity rt,=tsot‘.t:tttt'tn l`Jt:mt_. I-'ccs, rtan ."\sncssrrtc.t'-f':."

tl,) ‘*t€tuctr¢m‘rr; linttds't'rnnsl`e.tu“ "Eluctrnnic F».tndr 't'r=mst’nr" means any tt'tzttsl't:t‘ nl`rt'.t)tte‘,'t utltut tltvtttl>y chttt:lc. tl.rttt`t, ur
sirtri.larp:tpcr `tnstr'.rtrt=rtt, which is lrritltttt:rl through mt electronic terminal ret¢phnrtic irt:-t_t'rtrttr:rtt. ctrm}tut¢'r, ctr magnetic trpt:
so us tn ortlnr, ittsmrt;:, ns nurttorlz.= n litmn<:inl institution ttt debit ctr credit nn account Sorttt~. comitth ctrttzttplt.‘s m‘ an
l~;lncrrnnic l'=\:nr:ltt Ttrtrtst‘ctr are pntnt-nt“-s:rlc transfers twltere :t cttr<l ttt:lt ms =ttt asset tar rl=.‘ittl =t:t'-'l it ltttr.t'l rt t\ tr=t=rt‘l‘mttt}.
amounted teller ntnnlrine. (nr A`l`t\\l) rranr.actint:s. tt-.rn:tl'¢:rr. initiatan `nj' tcl¢rtltnrr=:. witt rt'rtttsfcrn. :tn<l atttcttttntcti nlratt'ttr;lt<ttt$tt

tr'.ttlsli_'r.r_
{M] “l;',:,'crr_t~,\- ttmrn." `l`!rr:st: itr>.rr.\.s rlt;:t nrc rlr:.t\‘:r`tl::d 'rr.t iicct`ttl)$t ll \t'!'ll ltr callt.'tl "Es'r:t'ttw lt.r.’t:nt."

ll‘t'l "lt'llttt:ttlltmcrtttt: l‘rt.rcet.\tls." "M:`sc:lltttrntttts Ptt.>t:¢rcds" meant mt',r conrprt::t:ttiort\ settl:rt\r:nt, award rrl` dorr:ngcs, mr
proceeds patel by any third party tuttlth tltrttt lntrtrrn:tt‘e grounds tt.“= drilth itt llth lit-lid tltl¢l=* ll"! W"‘”"f"l‘ll'= ‘i¢'~""il~“id l“r
Sr.~t:tir_trt 5) r'r)r: (il duttth to, m’ drstt'ttt:r`mn ut', the Ptopttr!y; (ir`) C.`t‘tt'tdntt~tnmtimt r_»: other taking nl' oll t'): amy part cl tltt:
I’rnpcrty; (tlt} cnt:v¢ynncu in lieu cti ti.‘nml.:tttn',;ttinn err sale tn avoid Ct:ttrlt:t'rttttztit:-tt; Ul‘ (l"l ml”¢r-"m§¢“li‘llo"$ Lll. <"'
mrtit,$l~ntrs ns tq, lite value nnr.llttr c<tnrt'.`ttinn c:f thc I‘rr_tpt:ny‘ .A ttr'\.'.lng nl' tln_- l‘rtt[.tr.rty try any ;_:t':vr:ntrm-.nt:tl authority try
eminent domain i.~.‘ known tt',a "L','t':tttir:rttn:ttitttt"`

{()) °'l't-lnrc;{;tr;\>, lurnr:trtt-t:\*‘ "l\/lrtt'tt;;ng.;c lrtstttrltzt:t.'" trtcttl:i lr:.'rttr'~tll¢t` ltft‘!l-'-'.:lirtf, i.'_"tttlt.'r nt_',ttit'tttt llll-‘ lllllll'li\?»'l"¢lll illt \`li'

rl¢;l';\rrlr mr, tim l.tt:tt't.

wl “t=t-,rimttt.~ tiny-maury 't'tr_t~ rt\_|_;;nt;nty sctt:ttttEt-tl untnnrtt ttut: l`t')r li) prittntr):tl md ittlctt.'r»¢ uttth tl\t.' llttt'»‘. =ttttl
li`t`l ttrty ttrnr-nnt:t nttrlr-r' S'_'t:t'mtt il ‘-‘t‘lll l=r. nttlll=¢.l“1"-'1‘\`0\*-1€l'~‘tt'tttt=t\ft"

{Q} "l{lt`r$PA-“"H.E Sl‘.#t" means the lleal Es.:a*.t: 5ett!t:ru€ttt l‘!ttcttt*.ttrc.:t :\t:.t {EZ l_l.$.t`.`. '§»f-!tit'.ll ct t;c'.q.) ::ncl its lm;:¢le:rt~tr::tlt'trrt
regulation Rt'g,ttlzt\t>rt li (24 t'lli.l,¢.. Pnr"t 35llll], t',r they sttlgltt ltt‘l ttt'ttctttlrt<l llttnt lii'='\i¥ ill '~HW~‘. \`Ji` il"`." adi-lillill`-ill ¢1`5¢"5¢'¢#!#\3\'
ksi.a~lninn_ ,.J|. r,_._.F"];m'¢" mm gun-um mg nme wigj¢::l nt:.!:t:t'. t"\u tr.\tt:(l itt l.I'tix E.ir.tt;t\rit'j§> lrtstt'ttt'rturtl, ":Lli-" "1’\" rat't:.'$ lt.\ :\ll
rc.qt=it=trtr:ttts nmi restrictions llth :t:" imputed itt regard ttr at "{`:‘clcrnlly r-ttltttccl tt:rr:'t;gat_\_r,r ltttm" ¢\'<:r: il". .t l.r'ttrn does not

t,-;tstttr`t‘p\d art rt "t'cri.t‘t‘ttlly rttlt!l€\l morti;~‘$¢ lit==!'t" \ttltlttT RE$I"-*t-

 

 

 

:».'t»j.\.\f \'c:trt_|r_..…;,‘..,t»_-;._\ ;-`-…»it_\-…r'u,...',¢ .\;,n¢rr-'mlttn- ;tt=t- |t>tl.t`tt'ttt\l lN.'~i'!'t¢l--\lEt\"l'

nw mm =~
ttr :Jn~.~r ."rntt t-t`tl\.l-\.`»'»'Jt$`h'l:

ttt=rJ\ ‘.\r.'r.t ‘) trnttt',--tt\r?tt£ l'l“tll,‘fl 3 til f'"',l”'.v"-`“l

 

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lil'_l'lltl-‘JJ"»’V?:'.R‘S `i`RA.l"ti}`»t:`l?ii-`i `I"l.`t l.l`GNl)i`!`,R l.Jd`.-` lli(';ll't`.‘$i il‘~` `l`i`fEl l’Ilt`ll'lFiIl'l'Y

l irr»_-rrt;t,:i[gc, grant :tinl convey tit-_- ltmpqrty ttr M['Il.iii {tl:iit:ty :r:i rtt'itctirrt:c i'or l,t‘,ttttt~.¢' att:t t.:trtcif_'r`st suct'.¢',ts:trrrt itt itttt'.tt::ll) nmi
itt stict:ttttnrt in imnm::t ntt'ijc.cr tn ttl= terms rit` t-tti.t :'~ti:t;trnty tn:rt;tminrtt: 'l`t~.i<t means ti~.nt. lay signing tltlt tit:t‘-ttrtri' ittilt\iitltlltl.
irirtt giving l,t:rtt.t:r titt.‘r“, rights tlt.nt n:'r: ttttitctl itt ll‘)is Sccttrity lt'.:tlt‘tt.ttttrtll dmi illith lltllit¢ littl!l$ llli'l -l‘~i'l"ll€"lllll'- l--il\'-' iil“`“\ l‘-‘
trailers wtit‘\ i)::tt't 'rttrtrtt_zugt:t nn 1¢::| prttpcrty. l tim giving l.:ttt'it.‘t' t'nte:tu ri.§;!ttt tc ri:tttttct l.i_-r:rt':.l' from rarti;:tttii<- tom-s tim
might u‘.~ri.ttt if'l i'rit`l tn:
(.",) P:ty till tim nmmtr_tt:i that l owen l,cr'tticr air r,ttttc.:i itt tl;it-. ,l_\tt‘rti: ir‘.clt_tciizti;i iiur lint ii:rtitt::fl tt't, :tll rclt:w»tls` t:tttt:tt_<:ir.\rts
i|_ml :\‘tc)t.'tl{tt.`rlll\':l'tt`» -it‘l'l.l'tlt. i\it‘tl.t:‘l
ii_i) P:ty\ with intertt.ttt. atty amounts tlnt'. l].ctttl:r rp:m.t.t: ttt'trlt:t' lltirt Scullrlt§‘ ll!!ll't'tlil'\°="l “`-‘ t'-lll'l'¢i'-if ll!= "¢`-l'll¢ ill *l“=
Prt)p::rty nmi Lcttdttt"tt rights tn tl:c\?tnp=rty: and
it'.i] itli:t_rp ali of my ttttter prtttru'tt::. nmi ngr:cutcttts uttcl:r llth S¢cttrity itt.=tmtm».~.rit mut tilt:; t\t'ntc. .
t ttn.ttn-.».rnit.t mt agree that ritt~:lts mims t»nti- legal title w the fittith cmt¢tt by mt w this $¢=uritlt 1“='=1='»1=nt. but ii
ncccrsttry tti corruptly with law m curtch MERS (.-t.t ttm:rtt`rtcc t't>r l_.crrd::r hud t.tcnticrl‘-`t ll\\cf-=tt-“=tll$ will =l!ftl?,ll$l l‘iti lllt= lltt`ttll
{i\} tn t".tt:tci.tc nrt)t tit att t|:u-.tt: ~.'i_\;tt=_s, tnctttctirtg. birt zinc limited lri, the right l'J l'ttl'=>=lt'ltl= wllll Mll ll=l= l’f‘tii'="lt"i '-'tlll
itjtt tit take any ncrinn t‘uquir:ct tit t.cn:t:-r ittt;ttttltng, hitt rtnt limited tu, rtl-.:tt.titttt rtttl tllhctlinit tlti-‘l Sttlllilt'
In_=,tt'txl:`tt‘:.n‘;

l'.lT:`ttif..`.R!t"i`l¢.lN £`it'\` '1`£!}1'. .l‘!:l()f’E-R`["x'

l ltch lvlt`;lli.i l_:i:tlt-ll.- :t:t t'tttt‘ttii'tt:c t`t:tt: l_ctt:ir.r' t.tnrl l.,ctttlt:t’i $tttit*tZ-i!.i\`ll‘-`l ir`l lE-"ll'=-‘lll» l`l‘_-’llli>` ill lll\'- l'?l)l'-’L`l`l'." ‘l*iii‘:llllli‘i ill ll\.l
tl't::titt§;_:ll (l'_'i:| ltttl.t.»tv:

[r‘t] 'i"ltc i'rt_tjtc:ry w`:.rit:lt ic ttit::tltr.l tit -’BD VAN l{g_l.lilf§l~’\ BTE-`Zl“‘_".l?,
.'|:t:t:t `
S'[ATEN lSL_Altl ill t Ncw ‘:'t)flt 'll]$l`.ltl .
lC,';ryJ 't'tiwtt ct \¢`illit|;t:| till-iit t.;r)tiu}
'l'lri:r t-‘rc-ptti‘tj,- it tn inCt-iltltONlJ _ t`.`.'nttttryi tt lt:it rtttt t'titlttt\'itlg; legal tiuttr_'t't`ptit.ttt:

SEE itt`l`T.{\Cl-l't";l.'l 1,F;`t`_’tltl. lTil','iiSl'.iRit'-‘TION MAUE A PART i~lERETD.

il.l] ;‘\tt buildings ttttct titl\l:r itt'tprt.t\-t:mtt:rts ttt.nt tire intath ctrt titc Pt'rip<trty described in subsection {A] t.tt'ttti:; tectitttt;

fill r't|t tights in i'ititc:' rtrnp¢t‘ty that E how titl t.'»wt:¢t‘ ttf`titt: l";cip¢-.ity ci=rtr:r'i“rit::l itt subsection lA) ct:`t'.:itt tt-.v:tit'trt ‘l`ltt:sc
t'ir.tltlta tire tuir_ntrn as "a:t.=,cn~,r.-ntlt attd np_mirtttttnncet ritttt.cl'ttttl trt tltt: lirtt[:tttty‘,“

{fll fill rights lhrtt l travis irt ti't: land \vl'tict\ ties itt tl'=c streets t)t‘ mails itt t't't.rrtt r>t`, or lt=i<l ltt, ll"€ l'"ml.lmi" ll'i$l~`¥ll't*t-l l’=
gtrtrr.m:ti.m {_A} nt' tiritt st:ctit'ltt:

(l..i] F\tt littrttt‘i:..= titnt nrc nrtw m' itt tlttt l`lllt\t"`-‘ Wlll bl'- <ii' fm E'l"¢l“¢liii’ ‘l‘=$‘:-“'li‘~""* ill illb‘-l“ll‘""-"' l‘°‘l il“='l iii"l ill ll\l‘-: ‘
sectitttt;

{t'-") _-\tl ¢:.t` tttt: ri_t;tttt :ttt:t property tlt'ntcrtintcl itt tut'ttt::;ttnn._t (t:ti tltrntrt;lt t_`i.i.) tit' tlritt lir:ctt`r:tt tt::rt t ttr‘.qt.tt`rrt ir\ tire
l'ltl'ttt't:j ;t.'\cl

i_l'}) _l’.il, rt'.rtl.'tt‘t:t
lnt.‘nt.'t:t~.'..‘, i-‘tt)t:t‘r.‘tlt
ttn<:ntc_a_tt -(t-`) t.lt' tttt: tt\.c:ttti;r.

5 tr:' ny minimizing itt tl\rz Prnpt:rty rit:sc:'_iltt::.l itt tttlr:tcctrttrt.t {t":l_t tlltt)t=i;lt (l:_l ol' thin rtttdt`ttttt F¢rttl Nll
a til' titt: E-`:i_‘.pr',rty t.‘.t-.:.t_ritr:ri itt tttln:ct:tt`<tt'.a U\_t

 

   

tn.v: m l_l.t‘.tt=\tttt ttt. and nil Ntit:t:tintt<rt>ti-t t‘rr:t':ur

tut-:w ‘r:tt'trt._-:;-t=i_il¢. t-'tnt»ttr\--F\.nmrt- ctn<».'lt~t\=ltti- t\t¢r. I.`¢‘ltt't.)ttt\l i-*.'!it'ttt.-‘t\'tt':\‘ t' F=»t m tl.t.l`.l lr=il

 

n-.-.t. :~.-.tt‘-t` ttt,:r\:--t mt ‘-t'.t li't"',“'-` -i til l".i""`.i'"ll

 

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iii.}li'\li`~lOWlfR’F:i R.l(.`il'i'[` TO .‘r‘l()Ti'i`lill‘-l[.`i$.i `l`iEE". `|"f\‘.i`}i'i£l\`l"t' A-_‘~ll_`t illi.`)fii{t_lwi`t".ll'.‘.‘i iilEiLit`s';%"[`l.t)i‘l `f`{l [)H.fl`l§,i‘ll}
i'Tl Wl~‘ l\'.t'trll-tlll' l.'.lt" 'l`ill". I“ltt_'li.“l§tt't‘\'

l llrnttiis: tit:tl; t_`.¢\t) 1 lstvi‘iiliy twin iiit.~ |’ritj-i\ri'iy; ll-i) l li.wi_' ilit- tight lis tiitiri_r;:iitc, grliitt itnti t::lnt'cy lli: l’tn_iil-'t`»;.' ll‘» i»tltltlt'-t'.
:trt'.t lt".`] tltt‘tt: i.irti no '.mtstttnt'li.tig_; :;liiitits tir i:.inir;_;cs tig;:.tinst tiltF l’it):i-:r'ty` excerpt l`nr' tiitisc which nrc uftiiiii|ii'. rnl:t)iri.

' lr_ir.i‘ :it'.§`i`¢'.rli
tii:tl. l wiil

 

§ grim n annual wnrr-.\nty tif ;irltt m i_r:.ii<lnt\ "l'iii.s rtir_~itit» 1llnl l will irc Il)ii-,/ i:ttpu:t*siill=: i`¢:r lilly instant wltlt'.ii 11
‘ritn-.ztin»: santini-ins niiii:,r titan rny;ir_“ii" norris rti` tim i‘ii_tlttll in '.iil: l'-‘rrirltltig.' Wllir;it l i'.lrli:rti:it: tltiit ] ii;ive:. l;iir.ttrti.=
clut'nrtrt my iiwitt-i-;iilp nr`i_li': l'i'iipr.r:t_t .il,-itinst atty claims <tl':.'ttt:lt rt_'.tiiis.

 
 
  

 

mith i`.r\l\lt;ll»\{`iil‘. l':ii.T,Cil`l`t.i'['Y lNFi"l`l'lt.lt‘ttiEN`i`

`i'iiiti §it'..‘:ttiity iiist:ttt:ll:ttt i'otlttttrill ;t.‘t:'»t'll".l-li' HH`I il.\“i`l''$‘~`li'|-l'»ll'»Q mm '~'~N “lil»'\i ill mill illl‘-‘i`-‘¢"l`:’ $¢'clm'il" iM“WW-=lll`-‘ ili" ll‘#'“l' ‘]`\L'
country ii sign nintttiing nilir.i- titnttti:;ct taint sitti:iiint'nis liitii vary tn dil'l'nre-.rit [lit:t:. nl' linn r;t:tt:tlr',f. lily promises tn',ti
sitrni:rnt:ntr. irc lttittrt.l in “i=lllitt |ttlliitl=l_rtt'--"

i'..`{}\l i*".Ni\N'f`$i'

t;nntnist.- mill tnt;rn': with t..l:ntii.-t itt ftillt)'~l'

i_ ltt-n-ri,wt¢t»'_i l‘rt:nti|_liii tt_) l>-.i;t'. I will pay tit i.t:rtrir,r‘ nn tittir_‘ principal srtti ititt:t‘urtt titti: ttttl.lttt tlt'_' lit\it: ittii:l my
i`ltl:;'.lil'tiii:itt, ltll'-= ~‘-'lt'~ll'[itls nmi nii'i¢r nninnnt:-i tlr.tr:. itn<lt:r tile l\lstiii l will =l‘-ll-\ ll=tl' tit zi:tt.-ttitts l`r) umw ltctt't: initial Srir:tit)rt 3
rii` lith Stl:tlrtly `iri:“.i.riitir=t‘.litr

i‘ityt'itttrilr. clint ttlttler this `l\littn .'¢t'til this Fict:tti'ii'y littlru.tit::.iil :-ii.'li! l.=': lillit|t'- ill i-F-ii- Elll'l`l"m=¥- 15 'WY “f Tl"l’ T’“Y"`-'-`““ by
t:ltt;t;li_ iir nilicr pn;.‘mt-_ni iiisri-nirii:rii i_i rr;l\imr:i'] itt i_i:nr_ltr,; tr~,ipnid, lit;i_i:it;i niity i't'.qiiirt.t ri:y payment li: mann iiy: (:t] t:;tsii;
(ti] money tinlsi", tci c.i:rtli`ii:tl i:liccit` bank cliscli. ttiittsu:r:r`s c|i<‘.:lt tit cssiiinr's illit:t:l<', tiiuwtt t.tpnn :nt institution wl~.nst~.
deposits tire lnsttri»d 'ny a federal ngsnt:t'. instrumentaliry, tit n:ttity; tit [tli Elc::tiltlt`u an=ii "l`rlitisl:"nri

Payirn.'iits are deemed minimal by l_¢iriclst‘ when rsc=`l\’=tl l=l tilt lU=-Hlllll'l rl-"-`lll`lt==~‘j ill lh<l i`*`fll‘-‘. ill \`ll ll=llllhl'-=' inflation
designatan ily i_e-ttrlr.:i‘ ninlsr S:.i' '.itt l.i i:f` tlitti S::t:urii'y instrument l.:ridnr may ttlrt.trti iii accept unit pir“,'ri't':nr tit pitr'.itil
;i-.ttr:rir:til if it is i'rii: ;in snttiinii tit-ii is ,, tititi't llit: iiittni_'rii iiinl iii than linc. ll l_.t‘.ritir:t‘ ii=l:.spl:'. n lsi'.st‘.r payment I.titi:i¢i.r rit'.t_v
rsitn.-t' in irwin -.i t=¢;sn;- iint-;ni:ni tititi l rti:ly nl:l.l:¢ in t|is Fiitunl ntii:l lines not waive any rif its rights l.ettdt:r' is rtt>l obligated tit
imply lt-_tt:`ii inntti.r ii:i‘,'iiir.'.ttis \~.-ln.-ti it s:t',npt.i such paymcril.'ll ll' lltti::tlsl uti principal zt.'.ci‘i'.sa ns il all P¢i'i<.l‘iic Pnyrn:nts trail
twin print when iiiit“__ thin l.¢rtt\ttr l rini iniy interest mt urtspplir:ii luttih\. Lo‘l'ldtllr ltlt'¢tf hfl'|li l‘-ll¢h \“lBPPH=¢i will-55 imm i
rn-.iki-. pilyrnnnts tn l.\t'i.tii; tl~,u l.nsn ci::.-rrtt `i€l rln rtrit tin sit within n rnu::uiittltl¢: pi::ititi t::l` til'l'ttl‘ li:i'-tir:t‘ v-'ill l.lit|\l:t $l§.t;liy sutllt
Fni~_d.s or ritt\ir;t iiii:in rci rns_ itt tlti.'. ev:nt iit' l.'tiii:uinniir't:, tiny t;it.~ip;\lii:tl t'itrtcln will l>t: applied in l.`tit: outstanding principal
intliti.tt:i: iitni:uiii.stu'll' |'.ll'lttr tn fui't.tr.iri.'.=itri:. Nt.t Ol`i`t\ltl t."t` Cl=\lll\ Witlfll l ll`-i'_-!h\ llll‘~’E "C'\\‘ l'li` ill lim Yll\lll"~l Pllsi‘l"l-“l l-llillil"l' Wi]l
:tili`r.-w.‘. titte l'm:i-i i-itslti.'lii li:i_\,-r“.t:=!.iti llllt: illicit-t lill¢ i`itlll= tmt-l lill$ iii>l?\l='lilt lIl-'»l"llll'll'-“F "1:' 1lllit‘-‘-llil'll£ 311 05 l“il \'“‘»“!t l"‘>llli-’\'L“S Ilmi
iiiti¢:inii¢nl:,- ncniiri_-.ti lay titt:i liccttrtl`l}' lr.tt-'l=uit'tt“rlir

2. Ap;ilit:.aliuti r»i' llnt'rm\'t~r':; l’.~i_\'tnitnl's mill tnt-iti"inti:i_- l-‘rni:tti:i'is. i_|<_iicsl; i-\§i{lli:ttbln T_.n-.\r tit tltis Sr.‘l:litttl 2
inquith t.lt.i“ir:r‘ti'ist<. i.,t.'.rtrl:‘.r will ti;i;tl_t- srsuii ni'iilj' tinyn'n_'nts tlt,it l._t‘.iii`:nr iii:cstits itt titt‘. ftiiiitwiri_i; nrcliti~.
i"'it'!tt, itt jiit itttt:t‘ttttl titt! 'J!'ll'il»‘l' lill‘¢ N\lll‘;
l~ln;ri_ in iist_.' ;-;riticiniil zinc uiiiicr title Nt)tcr; >lnti
t~liixi, in innl iii:: nrniitlitt:: ill.\t.' l.r,rrcll:i lltt:ict' iit:t:titm 3 rlftiiis .'i=:;zi.-it'; lnstriniit:ltt.

Stn_»li p;it-;x.¢\_ni=, will tip npplli;\-l in rz.'ir;ii l*i:tittiiii: l`-';tyt-,tl:r.i in tiltl t.tl‘tlt.‘.i itt Wllil':`.’t il i.lt~c:tlrtlr! dlli:.
r\:i_iv ri::ii:titu`rii; ri:iininits will int tptilit'.tl:.~is t'tillt.iw:'»t

l"irst, ti.i pny ntt_t,' !;ttt'. :l-.sigi~s. t

Ntr_~it, tn pay n.iiy ntln_-i itiit<itittts linn ilriilt-.t‘ titis iit-trinity inslt‘tii'iinnt; nmi

l\ic;tl, tn l'i:;itti_'t:r tim r;i"`,iicri}'itil l.i:.'i=s:t¢lil f.ll'|ilt.‘. i`itli's.

il' t.,:¢tti.‘i:t' rcceiv¢s lt lltt_l'ttit:nt l'mnr rml l`l"-l' = lilli: i't=tif.lt`i"»ll V'll""lt-'Ill `l‘fi\ilill il\\'»l'~lt-ll-'-i 3 S‘~If'r'l-F-'lc“i ll=lllllllll l*= t>€\‘.f \H\_v 1=1=’!
‘-'-i“ll'!.’,t~. i.i\is. tli': Pll*ti'tcnt may lie tl.`-P'=t`ttrl tit iitt.~ imc l‘t::'it'it.iii' i'lillrt'tlcttt :lilli t!.\¢ |¥ll¢ lilli‘»r!!,\-'\ |f milll‘ limit film ijl?l'l‘llil<i i`~"i/fll'-`l`\i
is ditc, i.i,-tiiiiir may spiilv lilly payment t'=_'c\-r.ii-¢:;t litirn nin: llrt'r,t` tri tlir. rcit:t;rt'rirltil lit` tlti_» ll‘i-i'itttlic E’nytti\:rtti tlitil :nc. linn ii',
still til ili-i sttl:nt tltrit` r::i».-,tt ¢tttytnrtti carr int pitirl i" t`ttii'. limit lit tltil tt:tlt:tll litt‘t~' -ll=l‘ tl-*l'»'¢lil lilli-“li¥ `MW *}li' imi‘“l¢l“ il i-‘F-Eiii‘"i
iii ilii;- l'till p;iyt-n¢;ii tilnni~ m- inin¢z l’tti‘ittiii: llai:i_ is ;-.icli uscnss iii$t»' its tl;llll):lll t<l :lti_t‘ !'.lt\‘. \'.lltttllr-'ll liilr.

 

 

 

 

 

 

 

l"l`l'.i\‘\‘ \'l`lilltl---l`iiti_:_:li- l`itr\til_¢~---t".tnniit .\\li:ll'rt'tlt`i\t ltl.il' llh`l':`llll.`\i l:¥*F\l'l!l".\‘lFTt`i'l t'ni in ..ll.l.t;l titll

zm

 

L-Jt)-'

 
 

t;;t-m_t.. --~+ i.»».-.ttratti:r‘.'r,

visit prti..ttitr_-rii \,.tmttitt: t'."=.i»;¢l ~l ;::`l ‘

       

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voluntary et'epttyrttettn witt be applied ns r'ettews: l`-irnt. tn tmt- ttr=tn»tyttn'.nt t:lt=tt'ttet; tttti i~ltt.‘tf, 99 tietet'ibeti tn the ant:.

_-\ttty nl`-l>lit:eiicttt nt"tsttl'tt-tetttt, tese:nrt:t= Prtteeetis, er lvlit:t“e|lanet)tts l-‘r=teeecl:‘- le ttt'ittei;)et sine '.nttiet tlte Ntttr. will nut
extend t:t.- pettitnt\tt the clue date nftlte l'-’e,-iodit_ l"'.t)'metttt err elmttttt-. titt; x:t'tttt.trtt tti“ti'tn:te. t_tnytnett°..t_ -

3. tituntttt,v I'n_vmt-tttt- fec 't‘n.xes end lttsurnnen.

[n} Bnrrtt\ver't €Jblignti'ett.t. l will pay te l..erteler tttt ntttt.tetet rtecees:tr}l tn pay t'nr tnttett. ntsetsrrtnnts, witter elttt='ltir-‘t-
settlements nnt.l other similar citnrges. ground leasehold pet'tttenttt or rents {ii'ttnyl, lm'->.tttt.l tit ttr¢tt:t'r\d' lh=l\lfiitW'-'-‘ Ct>t’tfliftti llti¢
Ptntterty, fined insttr:trtee tit eny). nnti tiny required Met'tgege instttnttee, er n hose Ret.et‘ve ns described in Seetien til in lite
place pF ltdnrtgttge insurance l'_~:nr;i~t Ferir_tciie Pny:ner~tt will include nn amount to l'.te applied toward the payment t)i' tire
f`ttlte\tring items which nr: eelletl “Esctnw ltents;"‘

i`i',`| 'Tl'l¢ iattes. tt.ttt:!smettt:t, water t:ltatge$, sewer rents end ttt'ttt;r t:`tt:ti`tttr cltttrt;e:t, nn the l’rtt;jtt:l'ty vtlttclt ttt'itlt‘.t'

Applieatbie l..ew may be superior te this Secu:it;.t ln.tetrmertt ne n Liett en the E’teperryt retry etttitn, tittrtetnd m etttt.r;_t_.-_

` tltttt i.\t' marie against prnpert_t,l beeet.t.se nn obligation has net lteen fulfilled i.‘~.' lent:)wrt ns .'t "lt.itttt;"

(z} lite leasehold payments er greene tenn ctrt tim l*t'nt:erry iil'=.=rtt‘i:

(Lil 'i‘tte premiettt fec any nzttl eli insurn.r:ee required by l,etttlet tttnlt-tr iiaetit)tt nf`titi.~» Seettrity tttttttttttettt;

ltl} 'llte premium l`ttt- l\f|urt'g;t;e ltteut'ttuce (il' nrty§t-,

(5] i 'l‘ltt: amount l rrtt-.>' he required ttt pay Lettr.i¢r under Eet:litttt ill Ltl illi!‘ St!¢`-“flif\’ lli‘$i“m'\'-”Lli iil-'il~"»Nl Gi lll‘= ilal‘fil'$t-'li

ni" lite premium for Mertgege lrttsttrnrtt:t= lit'nt't}')', nrttl

{t‘J] it`rt:qttiret.b ivy l_etteler, lite eminent l`t>r ney C`ntttrnttnity .~'tsseteitttt`t:t:t l"J't:e'.t, l‘etttt, titttl r\ese.¢ttntettt!t,

.~\'l`ter signing the ttiete. er at any time during it_s tenn, l.t;ttt,let rt'tny itttltttie these :nttt.inttt_t cts t..st:rnw ltt:rnst `t'tttt
montth lttt:t'tttt:t‘t: intil| mnise {`ett Httt:.rtt\i' items Will be lteser:l en l..entiet 'n esttntate et t.l‘te ttnttttr.l ninttttrtt retlttitetl`

1 witt tiny ntt et tttese nmeertn te t,ettt-ter trni<-.te=. t,.ent:`tt~r tells tent in '-t'titintt. film 1 tie net itnv-t tt't tin mt vt unless
Applieeble Le\t- rectt.tite~s etlterwine. l will mn‘tte these payments tJtt lite liftith t'iitlt li'\itl till' lui-`t'miiil`» l-'i‘.‘t`“‘-""“F ’Jlilfl-liiili`ii‘i '~“"i
imm-tnt are title ttrtrlttt tile l\it.tt=:.

`tite ttrttttttttts tith l tttty le t_erttt.~tt t`er Esertttv itt-test tanner tttis S.-_\etitttt ft will lie eelletl “t't`tett.\tv i"`unt‘l:,." l will pen
l_e.ntlttt' t.`tte Eec.rttw i'"ttttt'ls i`ett listTt)W llett't‘.'t tt“i.tl=`i i-tL`-tld$i' W“l`*‘€`-‘ i=`t`r` illiiitl"*ii'im ill liil‘t' 'liF-‘ i-"--S‘-'i‘-i""\’ i;"'“'i$ i'W iml-' ‘J" fill
lieettrtw ltttttttt. l.ettt.lt‘.t‘ 1'tttttt waive my obligation ttt ttttt‘ itt i-vt'lllt‘.r iii-it»`m‘~t` Fllll'-l$ fill '~\1\`.1' '-"l' fill i-'-t“`-'WW llci'il$ iii lilly iii`l`i$- i\nlr`
te¢tt wt'tt-=t met tie itt written te the ttw,ttt ttttnt.-.tt w:ttvet. th'tt pay tttt'eetty_. when ted where nttt'ttitt¢, tile amtttrttt title int
erty lisetew ltemt= fiat which payment e£‘ limth t-`t.tnds lies been waived by T_.eneter etttl, il` l.entier reqttlses. will promptly
send tn bender receith showing streit payment within Euult limit Fti’lt-tt-i 35 L-¢»“ttl¢f witt r*¢illllt`l“- Ml’ i’hlli.l~‘iil"“ “-" mm i“i*`l‘
payments witt to provide receipts \vtll be eensttleted te be tt ptnt:titte and ngrt=etneet contained itt this institer lh$tt'tlmtml. fit
tire phrase “Frt:ettises and tigt‘eentente“ lt need itt St:t:tiwt 9 thllitt S¢'-\‘-“Yifl" mill'ilmt'¢l‘llt m lim i‘l"l"l.li“'iii ill F°'t' E-‘Fc“-‘"“'l¢¢m-‘i
directly. pursn;rtt te a wetver. ann t feit tn pny lite nmntntt line tnr nn Etet‘ew ltettt. Lenrier mate pay titttt amount end l wifl
then tie et:ttgntett ttttttt_r Seetintt 9 et rttis Set-tttity tretmntent te rentty te l..enriet. i.etttlttr runs revoke tim Wnivvt itt itt 1111)‘ itt
alt F.t:erew tt:ms rtt any time ttt' n native given itt aecort.lnnec with lieetirtt\ t.i r:t' t.|tir- i.ieettrit",I Inr.t:tnrtettr atttt. linen fite
revocatintt, l will pay le Len<ler tilt Eeest'ttv thtis. neil in ntttntmtt, tltttt nt'e then tetttri entler this littetittn '_t.

t premise te promptly tend tn leer-trier atty nntieet, that t receive eit".scmw ltet=t n:ntttttttt te lie ¢tnir.l. lt.t:tttlt:r will estimate
!l~nm tim-l tit time the nmi-mm et llsqttttt' |-'~`t_tnt;lg l will have rn p:t;,- lay using ttttitttitttj, nssttsst'ttett’_“. etttl l.tiil<; itttt`l rt.“:t£utttt.l'tltt
estimates et’ the ntttttttttt l will tt:t\’t: in ttny l`<tt iisctott= intent itt illt> iit¢t"¢=. titli'~'f\$ -"\Pitli"-iti’i¢ itt‘*’ W¢I“""CS l»'it“l’-" itt `~\5°
stntttl-t¢;t- mt:titti:l t'ttr titttertttittit‘.g tlttt ntrtttt.tt'.t l ntt'. tn ney.

t.enrler :nny, et ntty tit-tnt, eette:t atttt held Eserntv “Ettntt.t in art nttttntn'. strii‘tcit=ttl tt> tvm“it l»t'-t“t=ift 111 DPt‘lt‘ litg F-"-¢N“‘
litttttlr. .-tt ttt».- tttt'te speeit“reel under Rl`-,$PA. .-‘tppli»:nl:le L:ttt' pete limtt.t ne tlte tnt:tl ttrrtt)uttt et Et»ert'.‘tw linens l_entt¢.:' entt et
any time etttteet and heln. ’t'ltts terre nmeettt cannot he mere then tlte ntmttteutn nntttttttt a tender enttld require meter RESPA.
lt' there itt nnttt|t¢r Anpticntttc t,nw tttnt itttntttes n tower iltntt tie flee ttttnl amount ee‘ Etserntv i=uttds L¢:nt£er cent cet|:nt end
ltttld, t..enr.ler \vtil be lttni:et't tci tttt: lower ttrttnurttt

[bl lt¢,-.rttlett‘s Obttgutienttt l.ertelet‘ will keep the l€t¢tttw iitttt€lt itt it ¢‘~t\'it>tti ‘lT it`~'niii"ti iili='ii‘-“ii*'l “'lli‘~`il iii-iii ">"
cit-pettit insured ittt n fecletnl ngettey, ittstntmettt.tlity, tit ettt`tty, er itt any l".-ttteret t~tttrtte ittt:ttt t-.istnlt ii‘ l.t.:nttet' 't=.l streit .t
savings er tittttt'ieg institution i-entier nth held the fist-tew Ftt:ttin itt-inter will etc fit= il-\"--'t'>“' i"`tttttl-'\ itt tJti’ ilt't l"`-l-‘i»‘ttt“*'
llt;;ng, nr_t lgt¢r than t];¢ gilm- t-il|¢t\t,-g¢_l under RE$F,\_ t__\: gtltt;r r‘\tt_:;lit;;tl_tle l_.tttv. i..:~.n:lt:t will l',t`v\.' itt t‘tt::, Witttt'tttl elttstt£tt., eti
nttttttnl neentmtirtt_: t:t` tire iis.t:tttw litttttl_t. 'l'ltnt "t:tt-:ti:t_t; will tittt'tv ell :tt’.t'l.itinntt itt etttl tittrittt.:tit'ttt. . .'n lite l';.t<:t'ttw !"'ttntl.s
and the reason for ent`n tieth-tt”li-J¢t.

lender may ttnt charge m l't;tr entitling1 nt' keeping tlte littetntv ITttttti:, i`ttt ttetn__t_t the l"_`.:tttt'ttt\t t=ttnttt tn |ttty tit't;:tt\\d lte;;t,-'.,
l`ttt' mttltittt_t tt _t\ent|_t' analysis nt' my peytttt:nt tt:' lftr;mtt' l-'utttt; er i`t-tt reee£vi"t‘>__ ctr t`n: vt £'y'ittg: tttt:i tntt.tlittg», :tt.»'n-t.tttrtn".ttt$ nttt.l
teller il<twe'.tet, !.ettt!et rn:ty eltat'_t;e me l'rtt these st:.rviti'.'t~ ii E.et‘ttiet ttn,vt‘- tttt\' ttlit*t¢ttil t iit¢ " ' "1*:\*`|*3 -`*i“l ill -"il-’iili'~"“i*l‘-'
L,»tw {tet-t-nitt l.ent'ler tn tn;tl;e ttte.i: n charge i..eneler will net he t‘etttti.et! to ;.t:ty ttttt :trtt- i:t:et't':tt t.\r e:trrtnrt:;t en tlttt ti.\tr:tt't\\-

 

   

 

   

       
     

tst?\t‘ t-'t)r'.tt- .-iit‘.p,!t t*t;ttit_tt-t--t'tt...tt.t ttt.tttt='.-tttttttr mt ttn'tt-'ttttnt tett»"t'ttt'.\tt-:r\“t' t\~.‘ttt _te.t‘t ttttt
e t'~
turn :yt.tt'. i.wtt\\.. t.tt,t<t$. t't"rt_g;t.- .~'eft't',tmt;t'rr tvi`.'tt't»"i""t |H'ti‘-'“tit t‘-`i"il

     

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routine unless either {l't i_.r¢.ru:er nutt l agree in writing tlt;tt lender will per interest on the li.sr;‘,‘u‘.t' l*ut'ulr. or ile App|ltrtlbl':
t_nw requires l.rrni-_-r :o pay interest nn rl\-: liretow Fuotlst

(e) .l\djtta'tmenttt lt.t tile E.scrow l"uttcis. l_.'rtt'lerr t'tppiicctblc: l_.ttw, titort'. t`tl n li‘.ttil tilt llt‘.t nntt=tit:l ttl` l'imrnw l"uttt|l\
lender men linlr.l. ll'tlte amount of' Eserew Furtdr ltelc| list leendet nncttt:rlt- this lirrt~.t.. titan tlun't'. will ‘nr'. nn excess amount end
ll.liii?.lt requires Lencier to account to me in rt lPecirl manner l'nr tltc excess amount nt` lists-rnur l-'unr.ls

lt', rt anr tene, tender tins nut received entiugii Ererew l.`-'nnds re nt=llu-' tile tt>lrlt\s=lt:‘- nl iit<'»rr)'-’v ltert'_t when tile
payments tire dtte_. l.,t'rtrit:r may tell me itt wrilittg t]‘,ru nn ndtlttiutntl amount itt necessary l will p.t‘; to Lenrler whatever
additional etn¢ntnt itt tt¢"=l'$§lll‘,s' li’ Pi‘-Y lift I-:~ll‘»i'°“t` ]l“ms “'lll»'ll llll* llill’lll‘~’-l`lli m lil-ll=t lllll lllli llllllllll'-l’ ill illll’lll¢l'llfi Wi|l lllJl- \M
'.t,tnrt} limit lil.

\l:‘}ren l irene pain oil nl' lite limits $et.‘.ttrt:ri, lrt:ntler will pror::;ttly rei`unt‘.l to me ntt§,' [i:'-t:rttw Fttttds lltc.t ='.t\: llth l:t.'-lt'tr_t
held lt§r Lt’.'tttlcr.

ti. llnrrtrwet"s Uhllgntion tn l-'ri§t' Cltnrge.s, .-l\ssesstnerrtr. Aud ('.`l‘.tirm'. l t"-lil| pay tell toxt-.s, uree:;tuncnts, wnu:r
cltnrge.r, sewer rents end other simiirtr clinrges` noel nny otitcr charges rtntl lines tlntt nut;r lie imputed entire llrnperty ann tttnt
may bn superior tn this £Stetsuritg,l lnrtru:n:nr_ l will also make ground rents er peytnents due under mr lease ii'l tim a trntt.ttr on
inn Prnpm,i end t:nm;nnniry _.ts;nein:inn nunn Fees, nnri ns.resstnente t"tt' :tny;- due nn tl'.e Prnpc.rt~,t tt' there items are
Estrrnw lterns, l will de tltis lay making s`ne payments ns described in Seetiott 3 cti tins Set:\.trittl lnrtrt.tttten:. in thir Seeuriry
Instrurneut, tire wnrrl *'l>ersen" means any individuni, nrpnnir,e~_inn, gnuerrnnenrsl authority ctr ot|ter pntry.

l will promptly pay nrr satisfy nil Lir:nr. against the l"ropt:rr,» tl\rit m:ty be superior to this Sect.trit'y instrument l-ictwt:vr,-r\
this Se:ttrity instm;nenr does nut require me tri satisfy n errpetictr l_,iert i{; [_e) l ngree. itt writings m pay the obligation which
pure rite tn the unperior l.ien end l_.eudirr apprnves the witt in winch t agree to pry linn oblignttntt, but only tro long ns l trrt
perinrtning snel-t epi-eeonent; (b_l in need faitth l argue or defend ignitth tltc superior Lien in a lawsuit so tltttt in Lentlt:r‘s
epinicm, during the luws:tit. rita superior l,ien riley not be en.l"ercetl. bill nnll~' llllll| ll'¢€ lilWS`~lll ¢llll$i ill l¢`l l SL‘G'-lll»* ll"llll ll"i
linlrlcr either other l_ien nn egree:nntt‘ approved itt writing by i..erirlcr, thrtt the l..ien os” tltir Securit§= instrument is superior tn
tire Lien itel<l by tlrnt l*etttnn. lt‘ Lettcier determines that aunt parr nt' tire t>ropeny is subject to s superior ltit=tl, Lt:\lt$¢l' limit tll"
l-Jtsn'ctwer a notice iti:ttiii'ir"tng the superior Lr`e:t_ W`ltitirt lll* ll-*ly‘-"l lll'lll¢ dill'» ml “`*'lilE-“ ll'¢ “"’lil"~` 55 lil"`”"l» B°"-'l""'""il' shall llol'
or sntiuiy tire superior |.ien er tnlre one or tunre. of lite actions mentioned in t.ltit direction »l.

Lcntler sl.-tr.t may require me te pn:.' tt one-ti.ntt! charge i‘rtr int independent seal cttl:tl‘r l'~ltl l'<tt'l¢.'llllilt‘. ‘-‘-`-l'\"l'iii"- lli‘i'¢ll by
l‘.ender in ¢nnnectinrt with nrc Lpnn, unless Applienlile an cities nr>t permit lttet‘trlet tci mrtl»te sttelt rt sharpe

5. llnrrowcr’s obllp:rtlr.m tn Mrtlutnirr l-ltrzttrtl lnsurttnli€ Cll’ Pl'lll'-"=\‘ll’ 1lll"lll'llll¢'l- l Wlll vllllll|= lllll€lll‘l Dl' Prllil¢l'll'
henn-ince tn cover rul ltuildittr_tr mut ntlier intr\rovt:tttents tl_ttt noelr nre. or in tile future will bet located on tire Prnpet't'y. 'llre
insurance writ cover inns ctr :irtrn:tr;e unused by ilte, lt:t'r,ttrtl.l rtnt'l“l“.illl:.‘ t.'t.-tV¢l'lfii hi' "El'~'~tl'ldli'?l Cl'lv=l'“§¢" lilllm"‘l l“"m“-'¢
polieirst, end any other decisis i'or tuition l.eneler requires sovereign mcluclittn. leer trnt limited to enrtl.iquttites att-l flnr)tls. Tl\e
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{b) securing ancl,lnr repairing lirr Progn:rly; (r.:l paying mims m nlirn.inrle any Lil:lr ug¢rlmll lim Pln[.!‘=ll!r' mill I“~‘ll‘ rla mill U’
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l will p.'l_r m l_lc:nrii“.l' any :lrlll>lrnl.'»` willl llrl'.- l` wlri¢.lr l,c::rrlr~r rl,'>rnrl:d iir\.rlr:r '.lril; l'jlr¢:'.linn ill l will gray '.lrcrr,
l_rrid:r wlch l_»_-rirl¢;r rgrlriz: me 3 mullen rr»_qury_;lim_; rim l rla al:l_ l will perry inll~,r::l:l mr lll$$ll.* Lnrlnun'\r nl li'lr‘. i. r:rl'.‘sl rrlrl'. sat
l='¢mll i;\ tim Nr-J;¢` ]llr¢_y;~;_=;r mr q:ll-.`n annum will l;n; ,ilr mr linn : llr:li rim ;in_n_mlll is rpr.nl l)y l.r:mlr':r. 'l"nis §icl:llrlly lll::irllnlr'.rli
will l'lrllclrl:l lll.'rlc.i<:r in r.n:w l rlrl llrrl lump 1|135 prcllrli‘lr: :c,\ lilly l`nrlsr', llrll(llull_l Willl ii ":3!.

li'l lin uni rlw:r, 'rnlr inn n rc:ranr nn rl'.l-. E’rrl;:rrly, l will iull'rll :ril my nl)ligi)l'r`urr$ 1=_'1<‘|¢1' lle IHSG- l Hih\> =\::fl-"-“» lim 151
nr:r;uir¢ llr<: f`r;ll ziall: l:ar_li'm mr called "l-'r.u ‘l"`rrir:") in rlrr l‘n:)pr:rty, my icr_°.r. irll::rr,:ll mill lllll l'"w= 'l"=l-iv` 'i`\l llle l1‘=i-‘l`ll€ Ul'\l¢¢’i'l
l.undur agrees m lllr_~ margin nl writing

lfl. l‘»l'r)rr ;rlgr, lnr\rrzlrlcl.-. li'l.,:nr.i::r rr:r;".ir:;r_l Mn:'ll_rllgrr insurance ns n r:u:nl`rL`rm: n*,“:rlu'rcim; ille. l\,l>:m, l will pay lhr.
irrl:zrlinlrlr |'nr l.hr: lvlnrlL'HSq insuran::r:, ll`\ fur amy l‘¢‘-'-+s¢`lrl. ll`l'\? M'~`lllil“il¢ ]'15115"“'1¢‘: i-`"W**f“il¢ ¢““5**5-" m b*'- ""“j;“l`ll¢ imm ll"~'
rll\.\ru_;ln_’,n insurer llw: previously prrwr`dl:rl nl:cl\ in.“.'ur:lr‘.cr: rand l,mclur rr:r.lrllll::l mrs tv n\-ll=~'-' HCPH-l“l¢l l"if`f"l'C"l*" l‘W"“’*'l nw
pnemiurllr int lvfclngngr: lnsun.mcr:. l will pay line pl'l:rrrinnw lirr substantially cqiiiva\cn', illnrllzrlgn insurance cr.lvr:nll\;r: from
on nilr-.m;n¢ n\or'rl?,'ug¢- innurr.’r. l-{c-wr.ver` me <:r.rsl nl rlri.r lilrlr':gq;r,: inrnrrs.~rrr rrl~.--::rrrg¢ will ha m.rl:-srrlrrlir.llv,' n~:ruirrllr.u¢ m tile
r:r:ll:l 10 mr. lll`il~.l: rlrr:\:ion.~; l'v‘lr::lg:lg,r: lnr.=l:r.~rlrr;c r:nvmngu, :mcl l.h~; :rl\urnnlr: mortgage insurer will i:¢ rvlnr;l¢:¢l lay l_':rrllr,r.

_rf' :mh:“muiol|y Mu$`.a;:m Mm\:§_»:g¢_. ]Ul_imim¢¢ l_\uu¢r;lgl; 15 mm uvi-iilulrlc;_ l,r;nljl\:r will r:slrl`lli:,l) n :mll-rr:l`lmrlul)lc: "l..oll.~i
l'l¢r,crrl:" 35 :r gul.'r:;:ir~.nr fur l_ln:F l\ll>l".;_l_r.§\_l: irlsurn:‘-¢:l? L'\WL‘lEil;_:¢l l Wl|l CUllLll`l\l=`= m llul‘ w l»!l"*d¢!` l!\"“'-h "“"""m im ““Wll“l equal
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l.¢rnrir~r will ;l.:lrrirr lilrv.n: p:lyrrlr-,nl_r,_ nry,l will ll c lilch llaynmil:r m pry fm longer linn rim `.\:ll:r :lr=,u ln'lur:.n:r ‘rrr\lllri ller
r:¢\vcrn i_ ’l'l\c l.r)rrr. Tlr=rlrrrvn l:a uunl-l‘r:l':lr\rl:rl)iu uvr.:l :l` ir`~rr. l..mllr ir \rllirnnlciy paid lr: ','\.r‘.i null i.r.-:illul‘ ill nnl rcql:`rr'crl in pay :n'.:
any i.me.-r"-‘l nrl tile L<:r.r ilc:cnrr:. l.r-.rnlrr l.':rrl nn lon -" inquire l..ld.’l.-l llcsnrvrl ;1'~lyllwlllli ill l=ll M¢l!‘ll.lili‘.¢ ll“\$l\¥"l“‘?l`- ‘?l’“`-l"il¢
again lv.:c_-un\rr available :lil'l;ni[glr :in insurer sic i:lr:ll llg,-‘ l_\.~,nrl-.-.r', {lr] until illn:l;;.‘l_ll¢ il‘.rurl'u\r.' 55 O‘Cllr\ll'\'-'=fl', il~`_l L\‘-~'l<"=\' -'L’¢l\lil¢`-l
l nrrnlci_-.' licsir__l,n;\lr:rl ;rnyrrlrenls lnwrlrri rim p '.iurns for M<,\rlg¢u;;n `il:sur;ur<;r:-, and (_rll lllr~. !\'lcrrl;_rllg¢¢ [n:nrrllnl:c mineralle rs m
llls: nrnrnlrlr drill i`nr line [.-,r:r:rrr| rr."lr`rn;: rcq\.:ilnri lry |_lc:nrl:¢l'.

ll` i_.cn:lr=r nirccl l\‘lurtgnlr,¢ ln_\‘.rrrnnr;: mr :r r:n:\.r`l'rricn: nlrnrrir.ilrl\, l.il:‘ l.fl=m md l‘llll‘l"~l“\"`-'f ‘-V<l$ “‘-“-l\'-i!‘?¢‘~ l'-l 5“7'!"” "°-'i'-`“"“ll*
l):lyr:;‘lrlllll lr)w;lrrl rll: premium i'r)r .\'irnlgagu ln-lir:nncr., l will gray line .Vlnrrlr,ngl: insurance prl:murrnrl, ur tim l.lrss l“`»cr=:r‘l'l:
Prlynl-.~.nrr, lrmll rh-' rr~'l'~rir':nwrll irl errll.l'¢rll‘ ll\\““r‘~\r\€': le '»¢Eri=\`\i!=lr: lf= rlle wr'ill*m “&lr'-'=H=¢“' llll'~r"-'C" i--L`“‘l¢‘-F hud ms
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rlcqrri;l. l':il:. m guy lirr llr¢\.minrrrl, rn rim l_rn;r llcr.n:rvlr p:lyrnrznr::> in lhr,- manner »'.lcl=l;rillr:\i ill ':`»IJl'-li')ll 3 ill !l\lS illumile
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n l\lrlrrr;»n;l: in:.-nrrlrr`rc ;ln|i:y pays i.,-\:lnl<:r l_n: lilly l:n.rir.y' linn glincln.=r.r. ril<: `r\‘lm:l fur nr:n:lin lr,:srr.'r il my incur il'
l-`_lrrnr.\wr.r Llu::s nm repay ll'.r Lc:ln rel ul_;ruur.l l.ll)r~ri»wcr lr nnl n [:.:lr'l\,' =.r) ll'.r: Ncrrl gm lnrur:rn:'.- linn

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\`-lT-r<:r:rrnrnr:l with minn lnlrlic's lr.l rl\‘-u'-' 111 '-`.l\ln`¢§_l‘l- their rr.\lr:. m' lrJ x‘l:rl'.:r‘.c ll=i-sn$. "l‘lr'.'$c “rrc“.lru:llu writ harrell wl lr.‘rrns null
r:n,-rrlililli‘.r \lml nw :;lili.f: l.'rc)!`,f' iu ¢lw H`-¢-‘l"i. -“» "-`\i\‘i¢li ll ll"-" “‘l“" P“l'\l" l"'l` i“'l`li“-'~`*l m = - “°"“""`
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S¢¢ug¢¢j' W|.r¢ii\{»_;' or rml men d“g._ "j';;& Li;qr:cgg` if pm-' 'l\'i_l] big p;;iil U~) l`l'l€. Slll‘.il i\rii£';£'.“ll'll¢'h!.l£ Pl'OGl¢¢i-i$ Wlil be ll'iil'llll!\i il'l lh£;
order prrwirlu.rl fur in i§tclii.“l `l.

lu slur r_>v':r:i nl'e 1ui‘ul r:ilring, ilerrimr'.tiuu, ul luis iu vul'.)r: iii !lrr: Prnrre:rry. rlrl.“. lirllur:<:liu.r\lruur. l"rue.er:ilr will lie rippl;eii iu
rlre liume Se.r;urirll. whether err rim lireu r_iui:. ’l'l\e exei:..~l$, il" au_v, will bc paid iu rru:l

lrr ilre event r»l‘ ri partial urk\‘u;;, derrrurriieu, ur lorr in value ul' the l‘rnperly iu which lirr iair markel value ul“ rl~.¢
Prupuny immudiareiy before ilre parilul mlriug. derrruuriuu, ur lure iu value is equal iri or grenier ilrr.rr inc amuurrl eli ilu: Surrrr
Ser;rrreri irmuediau:iy beiure rlle par-rini ieklrir.r, rleermclii:ur ur lure in value lhe Surrra_ Secur¢cl Wlll be r=dl~l€l-*d by ll"= i*¢"l"\ml
uf rise Mirerilaner.\ur l*ruceer.\r mulriplirr.rl ivy ll.u.~ following l'racl'iunl (ri) rlrr: mini amount uf the i'lums Sr-rr:r¢cl irrrmcdia.iely
before rhe pariial relciriS, elusrruriiurr, ur loss in value divided by lh] rlic {`a;r market value ul' the l'rirperi'y irnmzdlurely lrel`ure
rlre puniul icrlriug. derm\eiiuri‘ ur lure in value mr_\r balance shell irc pnirl !r) rni-.

lrr rim rrvemr rif rr parrial rel;~.'ng` rl¢slrur.iirru. ue loss iu value uf ii;»l: T"riu_;lerly irs wlu`r.lr rim fail rrrurl'.el willie uf ll'.e
Pmpmy irriru:riierely hel'ure die pmlrrl rol;ing\ ilirsrruelr'uu, ur lure iri value is le:r:; illim llrr: amuqu ul"il\e $urnr Ser.rlrcrl
ilrm\erjiqrely lrel'uru rl:¢; ]_mrrl:ll rel;jr\g, de_-,lr~uelien, ur lives in \-elue. llre blircelluur.uus l’rnceeils will be applied iii llie Sums
figured whether ur nm me sum m r.l'ierl ril:::.

il'l el)uririuu iue l’rur>r.rr§.‘. ur il`. eller lirr-rider rural-li ‘-Il'.' llnlii'¢ ¥l‘ml lim OPPEWE l“l=ll>` ii“"-r' d“f'"“`d ill ll“= “"-°" 5€*“!¢"“'”»)
r)l.`l‘ilr::rl iu ruul~.ir :iu -.lwurrl in wille rs claim fur rlenmg¢:ci, l fell in respuml re bender within `_ll_l il:l_yi'. uller ilau dale l.e::rlr:r g-_rwils
l\u!ii;e, |_.uurlr:: is rlrrl!rrr:i:lr‘.:l l:.'l c.rrliu€l and illnle llu: i\'ii`scell=mcm::i l’li'rcei*.d:l L°l!hi!l' ill fl-‘$\l>l"ill‘ll‘ "i l`*:i““l' ‘l*f"-|ll‘: E'"*ll'-‘m.‘l m
ru ilrr: Siu:rrr .‘_ieeur"_~'.ld \rlr.'ri|\cr‘ ur rim liri-.n rlur. "l.")/l_r[:ur.ir\{: Pllrly" rrrurrrill ilie rhir~r`, perry dial irv.'r::: me l\riir::;irllii:ir:i)ur }*r'nc:i:r:r'.le
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1 will er le ir¢:i'uuli under mm :'rerurirr lnrlmmenl ii nw =lvil er rrinu`nvl minn ur erw¢rdi\rrr lli=\ erri\rr <l=i¢rrllinrr
could riceull in n uuu:.' ruliqu ir:l rlull \vuul:l r‘rru-.rlr‘i: r`ir.'."l:llrlr¢ ill ll'l¢ F‘f<l`ll¢l'lllr 0-” lb`l lll“l '¢¢‘“]d di'"“ll“' L@“d°l'l‘ l"l¢l‘“‘ m

. me irregular ur rlr>_lul urirlur rlr'u,- :l'.i.urlry imru,uueur. "l=urreu\.-re" ii r crum rerion le require rllr= l‘rrrr>¢rll‘. uf mill pen rif llw -
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rlr_»rermuuls 111-rr il:i -r_iurr rulrrri_r, _rrrr-.venir i-"url`i_-iruie ur' llle Prrrrr':riy and lier .‘:i'i:\'¢iili'- -111!" ¢i=lmill',¢ l\‘l L¢lld¢r'i- lll“l»‘Hl ill lll¢'»
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tit change \,lit; titttgtttt_i ;;l’ litig l’-';;t`t)tiic iioymt:tt l:`.vt:tt ii i.:tttlt'.r tloot; lltiu\ lti)\l-ttf\'cl', l v~’il't Stl'l| llt: l'illly Ol.tli`glli‘ti tl.ll-'.lt:r l`:to
Ntll¢ ;mt_l tmtgii_».;' litig `;`;i¢:t;t-il-'t ltt_rtt;tumL-ttt ttttl;;tt,t l_lt~,rtti~:r ngrt.‘t~.s lt'l rtrltttttit*. ttlo, in \ltt'liil'tl;. l`rot‘.t rer itlllii§lttlttr'.s.

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i_t t-t~_qttt~,§t¢:i tmt tit tit.t sl;t_ i':'.w;tt ii' inextrth i:; r;;t‘jltt:\_tt,cti to do sch t_,o,t-tcict- will tim itc rtt:qt_tttt;tl to (!) bring il lttW:ltlir against tttt: or
mich tt i"t-.r:tt.m l'ttt nut fulfilling obligations tttttlt:: tile Nt_lt¢ ctr u;tc_it-.t' illi:‘. f:?n;;tlrity lt:str'ttrrtt::tt, or t‘.?!`) t'¢:l`ust: its ¢c.\<ltsttil little !'t':»l‘
patyitt¢ttt pr ntitt:t\=.t`ts<: modify amortization Oi`lll¢ gum-il SCi'-llii:il.

(b) 1.ttttoer’s i'u'ghis. l`t'\t=t't lr' L¢mi¢y tim tim ¢.~t¢tois¢ or t~.tii`t:t't:= toy tight ttt' t,tt-ttt'lor ttt:t.lor this .iot_'ut't`lt' lttotttttttottt
m miller .=\pttlit=tthlt: ll_aw, i_t:t-tt.l¢r will stitt have ali of those rights trott troy ot-::tolst: trott ortforoo tltt:rtt itt llto llttort:. Et'ott ii:
(t) 1,.-,tto`s:' obtains iosttrtt:tt:o. pays tottt:i. or pays elliot Cl~‘lil`fl§. \'»ll\\itw‘-i iii T-l““-" illii*l=“l mg l’l'i-ll>‘¢l'ri"i fn lt~¢'llt’l‘=' L\’-`Wi>li
payments from iht`_rti i’q;ntttts; t)r (3) i,t_-;ttjt.-z accepts poym¢ttt:i itt ot‘rtttttttts ittit:; tl:tt.tt tito att't'!t'ttttti litt:tt duo, l_r:r.trlr:t' will l~ttlvt: lite
illihl under '.‘.`tt:t:lititn 22 below it.t demand lit;tt l mitltt_- ittttn:dittlrt l-i:t}t-tttt-.ltl in i"`t.\ll tt," any nt:totttrts r..t'l'ta`m`tttg tltttr ontl payable
to I.,tttttlt:r under t`rtt-. Ntltt: toto tttttitcr rht`s`§ct:ttrlty ittsrrlt:ttortt.

l.‘lt flbligtttitlitli nl ist_trrowtttt- A.ttti ni Pt:rslms 'l`:tltitlg ('lvttt' ilort‘ttwt.>r`r ltit§,itttt tlr ill:tlil;:ttiort.-.-. il' tttrtto limit otto
i't-ritott signs this tieotttity tttsttttt=w.ttt mt iiorrowot. wait oi` t.ts is l"\tlllt' ftl>liiimi'il fit kl'-¢¢il all ill lll‘t'="l\“"r'-`i ‘I‘-'°i“li"ii` md
mitigatith t-.tttit¢tln¢:l in this $t=otttt;t losotttoot‘~. l-==td¢r otis tttt'm‘@'-‘- l-sodt'-="l tittlt=-' umw tito loomis lmo"tttv=tf =\ti=tittt\
catch of tts individually itt against tttl of its togethor. 'l`lti.t rooms llttti tlrti‘ otis Di'l‘-S H‘-ii' llt’- i€ii“i"~“\'l 10 F-'l>’ all ¢F lh¢ 5\1111‘€
$ccttr¢cd. iitt‘)t't:vor, it` otto of ll-l' tlt>r~li l'lil't tillll \ll¢ Nl>ll:i lill ll'“l ll“t'l‘-m ii ilgnl“l\l l-lll$ SW“'lll' l"t‘li"-`ll":m °llly ill lil"¢ mm
l>t~.rttott's t'iIi-_i-.t.tt its tlt»_n Pttt;torty itt l.t:ttt.lttr tttttit-.: lite lot‘trts tti' titis S<:¢tt:t`ry lnsirtttttt~nt'. (Ltl that F<ttttottt is ttot personally
oi)l.l'r;:\tt'.t‘] to boy tlti: litttt'ts St:»r.trr¢:tl; llilfl W llli“ l"="=ll`i" E‘AYWS lth L¢Wl*?t' m-l!|_‘t` USW= Wllh llll! P|ll=l' R“-"f‘¢`t‘\"'H§ w \'l¢l“}’
ottl`ot't;ittir, atty t'tl` l.t-.tttl"_':“.\t rii;ltls, itt tttt‘ttiil"i'. or trtttltt: oily ttt:cotttrtttttl;tlt`otts w`t‘ll: regard to t'i'to i:ttstt ol` tilis S:t.'tttil;.'
insmtm»_+tt: or tb_-. blow witl.totti llt.tl. Fot$ttl’l'ti tonit.'-ili.

Sult_lt:ct to tito provisions of Et:t:tion 13 ol`tltis t`tt:t:utit;,F lttitttttttto:tt, atty Pttt.tot;t who titl:¢s over my rights or obligations
l_tt'tdt:r litig l§t:t~.t:t'it_tt itt_smtm¢_tti itt tvritittg, and is oppttov:.:i by l`.t:lttit:r itt wrillog. w`ti.l ito\'t: till ttl' my rights rrml will 'lr::
obligated to keep tt|l of mr promises told sgro=roi¢l\'$ mails ir- lllls S='=lttiflv' lottirllmw\i- B°l'r"=“~¢r "till hill b\= rttl¢t$ttd l`r't>!'i=
Borrowet`s obligations otto liabilities outlet this licctttii}t' instrument ttttlos$ lrrm-ldf H§I<=i=lt ill inch IL‘NM¢ iii erl`ll!£- »°\"llt'
liotttttttt wt-to takes over Lt-.rttit;t-‘s tights or obligations tittrit:t tl:i:t liquor-icy instrument will travis ttll of i..t:rtti¢;--,- ri;;ltitl ill'td will
l.ts obligated to lump all t)t' i_lttrttltlr’s, ttt'ot‘ttistos ottt.l ot;tootttostts mrtt'it: it~t this St:cut'ily losi=‘t.\tiltrnl oli¢t¢pi tr$ provided untlttr
St:ctit'ttt .‘iCt

iiid i.ottt-t Cfltttrgt:-s. l_,umlilr ::ttty i:;it;ttg¢ me it:t::t int towiqu po;l'ttttrl:cl in ottrtnut:tit.trt wi1l't rt'.y tl:{:ttlll, i'r.tt‘ tito pit:ptlit!
ot' protecting l.ctttl\-,r`s interest i.n tlte i‘toii¢rly ttttti tiii|tts tt'tttlor lltt`t Sct:ttt'ity lttst.tttm:~.ttt. looiutii.rtg. ltot ttot limited ittl
l.tttomt:ytt' l`t:tts, properly inspection and voil.totlorl iot:tt. Wt'ilt rogatti itt olim l`€ott, |lt='- l'“¢'-‘- ilt=" fm -`-'ll¢li“"li? lm"l'“"‘¢“l ‘ll“ii`
nol oxPrteley indicate tlt:tr i_t:rtdcr in-H' t:ltuigo ll uttrttt`t.n ftl-o does not toter ll'titl i.L‘l'l'?ltlt' \'~1“"“\ Cllil!'till ll'»l“ |'Y¢`- 1-‘“1“3‘:1'!"”‘:'T""'
charge ins tim m prohibited `:t;r- this S¢t:t.trity instrument or `tty At.\p|tt.:tl-tlt: I.ttw.

i|' tila i_t.tttn is ttt_\l_tjc:t to ,\l\ppiicttttlz Law which st:t_it tzm_~titrtttt~t: lottt't ttlttttt;tts, :tnt.i rlttti !\t'tpiit;:titlt: i_ttw is i`ittvil§t
interpreted 50 tim lht: ltlt¢t‘t:st or other lotti.t charges collected or trt be calledth ill Ci»l‘-W=f-'l-im`- “'l¢ll ll“' l-“'~“l ¢`>¢t-`-¢‘-i‘l P¢l"l‘l["*\`l
ltmits‘. (ttl atty illicit loan citrlt,t§o will bc rodttc¢cl bit ll‘lt-’ tlml»“tl'tl ll="»'¢t”'i-WY f“ fcillll&i"- ll*L‘ Cll=ll`ii¢ l‘l' lll'-' illil!'ll"'~li¢fl llllil"i ="\¢l
ibi any sums already collected l"t‘ortt tttt: wi:iclt ottouttd:.;l g¢tmittt:ci limits will lp.s tcitlt'torit:i tt: tttt:. i..ttttt‘ltir may t.ltt)tt.~io to ottthti
titts ttt‘ttrtd by reducing tito principal owed ttt:tlt:t' tltv i~iolr or by making n distant poytttt:ttt to iiorro‘.\tt.'-t'. llt=. rttt'ttttt! reduces
pti;lt:ipsl, tlt¢ lettttt;littii will i>:. :t;;-..~tl¢td its lt pttt'tttti gtrt;;.;iyt:t-:ttl without any ptopsymt:r'tt olrt:r;;c it:\-t:tt tl`at orottut'ttlu:li t:it.'tri.t,tt
is providt'.t'l t't'tt‘ tt.t.'ltlot‘ ilt¢ “ ttt:_l. li'i rtt:ootlt ott:lt lt r'ot’t.tttn` lltt.tl itt patti directly to rrt-,:, l tl\'iil \\-zti\'tt ttr\y l'i§_illl ill l-‘rllll.i “ lii“'*‘-‘ll‘

   

  
    

q_t;;ttt-tttt l.t-.rtt`tor l.tot',:tosti oi' t‘.t! il\toitl'tl\r;i=!

15. lior`ict=s li¢t;ttir‘!*.ti ttttilcl' ll\i-'-'
$t:cutiry instrument will ita itt wttliroi. .~\ttil :totico to mo it“. t:onnonl.t`ott W=`lll ll\i$ illt=l'lll"-lit 1'1`1“111“1'[" \t` i'-“"ii"l'-`*`t\d ti"\'lf" 10
mo wltctl mailed 'L‘t;r i""rr:=t class mail or wl\-'.rt‘. llUWl-'l' il'=ll"i’"t'-‘l iii "’"!t' lll"llii¢ =l‘?lll'$$~“$ ll$€¢‘-l lil` lill"'-' f'-\'-'i!:l-'it N‘i“"»i“ iii 1"1:»‘ t`”\\!
Eiomtwt¢t will itc ttr.)iir.t.~ to oil Bor'rotvl:rs '.:r'.lt.'iitl -‘\ir]lilCHl-"l¢ Ll*“` ¢i-`li¢'!a§ll" rl`£l"ll'li§ l"!l'\\’»'r\’*l§€`»- 'l`l“-` lli"jc\'-' 35‘1“"55 l"` ll\'-l
mill-usg u!`tht: i-‘gl;.p:r:y t'r.|.::s l git.-t; ntt:lt;t,- to Lt_-t~_\i¢t' o|' ;i different stitirt_-§§_ ] will promptly lt:tt.t{'yr i.¢ttt‘lot‘ ttf'rtt-,» t'.i:.\.'t;_;c tip
otitiross. |i" lt.stttl.t:t specifies :t procedure ior reporting t'tl_\' citattt;;o rll' ritltil`t?=`-tt. lll¢ll l Wl'll lii`lll' Wl“~‘ll i' ullill`ili'-` ‘ll' ill‘l`-'¢~“'-`i
lltrottl;lt ilttat Sl"t:t‘.`tiiorl proctciutt:. 'i'l:ct: may be onlyl otto t'lt,-sltt,tl‘~\lo'-l ttoltt.'c :tt!r.lroo:= tttttlt:r llth r~':t=rtt‘_r lttslr'ootsttt ii t't=t}.t otto
tintt:. Att;.l notice to l._le:tt.iet will |;z giot.-.n lty duiivt:t‘il:»g, it ot by ttttt` t`t by i".rt.tt :lttt=;t :tt'.tt`i to l_ontlor`s ttcl~.ltt:sts slttttitl ttr\ llt:'.
l`irit page of lltis Sot't:t'irt» I:tsmtrttottl unless l.iotttlrr ltos given mo tttt:i=l;c: ttt' ttttttti~.::t' ittltlttt.tt. lttt;t ttolt`t:tt itt tottttt.-ott='ttt wtrl=
llt`l.\; §§octtr'lit' ltistttttttttttr is gtvott to l`,t'.tttl::r witco it is .~.:“.tttoll_tt ict.'ot`vt':.\ by l_tt.'tt¢!'.!r l*-' il*‘-_‘t' “"ilm 5`¢\`l`\'l""‘?l lil` lll‘ii --`5"-'"-"\"5"."

 

t_-=¢-.¢tirtlg,' itttttt‘tstttt~ttt. .-‘tll notices ltivt.~tt l-,¢,' mo or l.totttlttt itt oot‘tttt:c-t`tott witlt lititt

 

 

 

 

tvl_‘tt' t't:ttl\'-t--t:ttt_t_l: t'-`-lttttl\. »--‘t-'.ttttttt- .tt=trtt-'tottts.tt mt tlivti='ttltt\t lt\'i`»'l'tttt'.\tt-Ztt`l' l-‘otto will :ttlt
t*,.,_t>trt.».ttt: '"
;;t\'_J-ttlmt"'.t:l ltnf.t_l l_lli.'lt.'»li\l

t=El.t :\rto‘. tit lt\‘:tt>-tttiiil‘.‘ .;f't‘t_)#: lt*t',t` .`i :tt t.'-.t't`t

 

 

CaSe 1-19-40750-nh| DOC 10-2 Filed 03/22/19 Entel’ed 03/22/19 11212:13

 

   

in_=;;_rmm-,nr i=; mg r¢_quir¢~_-_§ tmt-icg- ;\Wli;;;.\_it¢ {_;.rw_ the Ap;tlieu';.»ir_\ l`,ttw re::lt.tir\‘.-rr\cttt will t'.:ttr`.'rl`y tl\t‘- <ttl'.t:.tttt'lndirry,
teeJ_-.,i;'t;m=;ttl under this Sdt;tltt`t'y ltt.'-;r;ttltltt‘.n‘..

id. ]..rlw 'l'lt:tl t.`»‘twcl'tts this Sr:t:ttr'il.‘§i-iltslrtttt\t:tltt `Wt.tt'tl l~:ifll'.v- Tllii 51"~“-‘1‘1"£1`.‘1' lil$i"i"li¢lil 19 ii'-l\"=r'““‘l "`ITr' il'»"t*“"‘i
l:rw end tlt¢: law rrf"l~».'r:\t' `i~'crrlt titttlu- r\ll l"iltlii-`F tmi-l t>l"lidi“i-'Hl!i =ii"itl*i"¢'-l m il`li-i 5¢\:‘-11'"'."' l“‘»'i'i'i“='-=‘! 3'" »"-' iii "='iY
requirsttlettt_s and limitations t_tl' ii;.\p|lerttsle l_.twt Applt`ctt't\le i..tttt- might allow tlt: parties tt~i ngrrt.: by contract ut' il might l.\r_-
silent but streit silence dues nttt rttt::ttt that l-Er\¢l¢l` Wl l ‘=*“'“" “E“"-` by 'i<i“'\mi- if “F'.i' mm °"'i-YE 5¢€\"'*“¥ l"-“Wm¢"l "\' “!'
ute t~tete written with Applit=rble erw, the etttrtlict will nr:t affect utitrr provision-t rtt‘ lth Stt='-trili' ltvtltutt\¢rt| vt ll"-‘ ilt='l'-'
which m <.prrrtte1 er be given ert'eet_ without rtte multieth provision 'i“lrir means that tim Stct\rils ltt-'ttwm¢ttt ttr t'ttt: Nt=ttt
will remote ar iftltu ctrn|”ti:timt provision did nut t‘>tis|it

lite trsr:tl irs thin Eiccttrtty lrrtttrr:tttettt: taft wards crl` the rtt-.trr;ult'tte gender will mean and irtcll.tt.ir: corresponding tvr,trtl.t rtl'
thtt l'etttirtirtt ntttl rtr:ttt¢l“ guttdettr; {t:`t words in title singular tttr.ttrt t:t:trl include tltt: ttluml, and Wi`tllli ill lli¢ Pl\li"'*l "“C"‘\\“ '~li`“l
include tl\,¢ singultrr; tmd (e.) the wr_».-rl "rt_\tty" gives sale discr:litttr \vil.`lmtll wjr it'-iligm\\`>“ m ml'"-` any “lem-

l'i'_ ilt)rrttwr:r’s t`_?rtpy, l will tire r_»_i\.-t:rl title r.t;\p~,*ol'tltr: Notc ttttd ol:`tlris Eccur`tl)' lttstr'u.rtttrrtt.

lll, .t\l_!reerttltttts about I..t:tttlttr's llli'.hl! ii lle P\"¢'llm-'l’ ii 501¢1 "r di`rlll'![ei'l`*d- L-ii'l‘i¢¥ 'Mi" imi“"“: ‘-““mi‘il\`l“:
Frtyrrir_~rtr trt Frrlt rif ell Sttms Se¢trrvtl by this fieeurity lnsltttrrtt:ttl if all or atty part trf the l"t't\pcrty. ur ii atty t'ig,itt itt tl'lt
t=;-e.i-rrrrr-'¢, ir. gold m transferred without l,enei¢\.r‘s ;trit;tr written perrrtl:tsittrt. if l_`trtrrrrwttt is nut a natural Persort rand tt ltcrtt'l`tt:t:ti
interest in iiltrtuwer le mtd dr transferred wirl~,e»rr: [_erteler‘s prior written prrrrti$sirtrt, i..encler qist'r may rtttttrt'rr ltlt>.t)t:rltr»lt-.
l»'ztyttt-.'ttt in |-'trll. l-lt:twevt;r, this dpt:on shall tmt tie rtrterr.‘ised by l.ertr,ler if suttlr estrada is prohibitt-tll:ys*tttplirattlrt1.ttw.

If Lt.-rrder requires immediate .=‘,ryrnen: in Ftrll under this Sc:tinr: lB, i_er.der will give rttt: :t rrttticc which sttttrts this
reqttirerttsrtt. `l`lrtt rtctt:`r:rr will give tire st iettrt _.l[l days trt make tltc required ttsytsrettt. ']"l\e fill-rdtty period will begin r>tl lltr: tl:rtr.
the notice it t_rit-trrr m tree 'm the murmtrt' required its fier'.ir»rr li tsi this Ss¢\tt'if:r lltslt'tlttwttf- ll' l titt rml make lite ttt‘-lulttrtl
payment during that periods ldetttler may act tro crtl"ctrr.'.-. its rights ttrtdtt: this Sct'uri:.y lr:stttttnt:nt \tritllmn li“'l"§ T"L' "“lt F"F“’WF
notice rtr tlr:mattr.l l`ttr trr.!_yttt-_-rit_

ttl. ttrrrrrwrr‘s R'tt:lrt tt» Hevr. erttler‘t Enrt)r~:ettwt\t m’ this SH'H'ii.v ifls'"t'm»‘tt' ‘tlitr¢m\fi“vr'l- iF-"t'" i!`Lt-ttrl¢t
has required im.mt:dialt: Paymt‘nt itt littll, l may lt:tt‘tt lite rlgl'll lt't ltttt’r: tt‘rtl`t"¢¢t`tl‘-*HI Dl` li'\i=i ii¢ifuil'll' ll'li‘li'\-'“"-`l'~i -*i"Jl-Tili!ilr l Wlii
lttt‘re this ril_t|tt at atty tim'.: bt-.Fm‘\t the strlisil DI"! iii f'\\‘¢ il“i'i b'-`r‘-‘T¢ im 95 lh¢ P\`i‘PE-“I»‘ l-mdi" i"l¥ l‘“"*"`" ii{-‘“l¢ lii’iml"l l‘l'
t|.t.t`s St-e\trlty lhstram=nt; [l:l another period rs .-\p',tilit:al.tle l_.rrtt' l'liilil“ FP¢-F-il`i` i‘-" nw l¢m‘-h““i¢‘n ill '“i" liiil" m l““"=
¢ttf=trccutt~.ut t»ftlte Ltttm .tt<tpg:ca", t)r (t:} tt,rttdgmr:nt has been entered enforcing this t'ieeuriry instrrtrttttttr. ln order ttr have tlrri-.
rittltlr t will meet tltt: following ruttditit)rtr:

la_l l Pn*_r' to Lcrtti:r lite full amount thnt then would be flint titlti¢! lllJ-‘S 53¢\'»`\""5|5' 5|151`“\»'¥‘»'=“1 mid li\=F N\`J“-`- “9 ii

]r:tmr,rllatr_' E'tt)'mcr»t itt Fttll l'tttt.i t'tr:t’cr l.\:t:tt rt:quu'ed; `

(t.} t emmett my failure let keep atty errmy other promises ur rg,re:rrt-:ttl_s marie in tl\is Sr:cttrll\,.‘ ll.tslrtt)‘tt‘:rtt;

(t') l very all tJl' l_.¢'ttrlr.~."s reasonable r:tt!ittttst'..i itt L`!il'\irf€i¥l$ lllid' 5:¢‘1'-“'“}' lnmi-‘m'-”m l“cl"liil"£l» mr ir"‘""li‘z*:» ‘-`Cli“"li"lhl"*

attomes‘t" l'rtas. Prrrpt'rt:r inspection and t'altrtttlnr'.. t'ttrts. and other tires incurred Ft'tr thc PWP¢$C of l'"Ols¢i`-i*="t`.i l--¢!l‘ii`-\"'t'

interest in the l\‘rripetty rtan rights under this Secttrtty lnstntrnettt'. mci

lrl} 1 do whatever Lt¢rttlt=r reasot:ttttly requires ttt ttsrttrr tll:tt l.»t:tttlttr'tt irttrt'\ttt in title l*tt'»,'tt‘-rtv utttl rights t)tttlttr tltts

$er:ttt‘it}' instrument and tt'l',-' hh!llirtttttt'ts under lltit NO=H will imch l-’\i~’» $¢¢"Flil" I"S\T\l-m"-T“ ¢““"““\'-` li“=h““li"d-

l,r.rtrter may require that l my the sums rn:t expenses mentiotttttl itt tul llttttutth ldl itt Dttt'- mr mm vi ilt¢ lallttwt`tttt
l'ortt'rs, tts selected by Lt.::tdr:r. (s`j cash; {b) ttl¢¢tr:.‘,' tttdt:t': (t:] t‘t“.¢’til'ted chr¢l;, l>a:ti: chcc_l:, tt'tt'estrt'dr's check m r.‘:t':itt`r.r's r:lrr:t‘.i:
drawn ttptltr ttrt institution \t'llr.tt=t: il¢t-`Mil'i Cll'= ll'~‘“"\:d bi“ ii f¢¢ii'~"»‘i-l] *H¢“C)F. in§'-`l‘“mlri`-L`llil.`r' \"*T` 511!'1“."» i-‘l' idl liio'i"`i-mi~" ];u'\‘iE-"*
"i't';trttl::t .

Tl'l littlllil rtll ttl'tlt: nt)rttl`tttttrtr tit tl‘lt`t -`:`>t"-<‘-l'lt'lrt l‘i. tim-rt dirt $rtr.urit;r l.tts:rt.-rrtt:ttt will remain trt full elT`ttt:l at if ltt'tttredtttlt:
l.‘:r§rtttr.~.ttx itt ilt.\ll !-t:rri tt::v=r l-tt:»..=rr t'r.~tlttllr:tit iltttvr:v=:-t'. l Wiil tim l'iil“'¢ file rli’-l“ m haw 1--“*1'“-'¢""-" ‘-*“r“l`\'l`»'il"‘”-"l' mm ‘]*i`-" 3*"1""-"1'\.‘:'
lrtst:'tlr_nr:rtt i.ii<r:olttttttl:trl ii` l.t:rtttt‘.‘: ims l'ttf-tttirr:tl lrttrtredi:ttt: i*:t_\'rtturtt trt l'-`\tll ttrttit:t' Bt‘-t'.tit'rt'l lPi ttl` t`rt`ts St‘.t:ttrtl‘_r ltttt:'ttt‘lttttt.

.m, mm HBMW=¥ bright m _t,;,d]r r;,,_. N¢m: w -_m hiltth tn tltt_- !‘t‘r»t_tt; iittr'mtvttr"s liirtltl to Ntrtit:rt. rtl' {`.`lt:tttt'jte tit
.lttt'ttt lier\'it-.t-t", I..t:.'tilttl“i‘ and l.itrl'rt.ttt‘dt'*tl lili’,ltt itt i\`rttt't:t‘. l)!' fill'it'.“ill\t“.*-'i 'l`il‘l'- Nt`"if, l-"I'M‘- ittii‘»i¢ii ll`l md Ni?i"» lill`i¢l-`=‘-€l' Wl"ii
tim 5‘,¢;¢\“-‘\;_\,¢ I;tgm.tm,~;u, reilly l;it; sold mm r_\y mmc ttm)_t_r,_ l might em reet~,_ t-, :my print notice t.)|".ltt.‘st~ sttit:s

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tlti:t ticr:tu'irj ittstrtr,'ni:nt, and ritttpltt;t\l:le Lttw is :ttllrt:l tlte “i_,t:t.trt &_\`.t:r\'i<::t'." `l`ltt:l'r: may lt-: n t;ltrtttt;t: tlr' lite erzt't fit'tv!`:::.'r tit a
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NORTGAGE ELECTRONIC REGISTRATION SY$TENS GREEN TREE SERVICING LLC
PG BOX 2026 7360 5 KYRENE ROAD
FLINT HI, 43501 TEMPE AZ, 35283

"And Others"

PAYMENT DETAIL
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ASSIGNM ENT 0 F MORTGAGE

Acct No.
MI`N:
MERS Phrtrtc: 1~333»679»6377

Cottnty of Rit:lttrtotrtl_. St'tttc oi' Ncw Yot‘i<

Assigrtor: Mortgttgt: Elcolronic Rogistrntion Systoms, Itto. {"MERS”} ns nominee t”or lBttnitUnitod, |"`S[i1 at P,O, `Box
2926, Flint, M[ 48501~2026

Assignoo: Circott 'i“rt:o Sttrvioittg LLC tit 736(]' 3 i\'yrette Rti., Tert'tpc, Aii_'. 852le

Mortgttgo mode lay Micltelle R ll‘.t:tlit:r, nn unmarried woman, to Mortgogo Eioctronic Rt:gisit‘tttion Systr.'rrts, irtl:..
(“MERS") its nominee i`or linnklittitotl, FSB dated tito 3~\9~200$ in tire amount <)t" 3315,000.00 and intt:t'cst,
recorded on thc 4-1 H-ZUUB in tht: Ofiico cti`thc Cicrk of tltt: Ct:tt.tnty of Rit*:hmond at (,`t.:rtil`tt.‘ttlct"[)oclt.t:l Nttrrtl“tct'
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SHI- #: Biocl-t - 519 LO¢ - 20
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7'0 HA V)&*AND 't"O H()LD tlrt: somo onto Asst`gnoo nmi onto its successors and assigns fot'ovcr, subject to the terms
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'I'!NS assignment is not subject to thc requirements oi`Soolion 275 of tito Rottl Prop<:rty I,rtw because it is within the
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ttW PRE.S‘ENCH U'F

Mortgai;c liicclrottic ilor;istrntioo Systt:rt‘t. ln¢. ("MERS“)
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State of` Arizeina
Cet.inty ni' Marieapa

On Oeiober 26, 2010, before me, the undersigned personally appeared Mennel C»ernee, Assistant Seerelary fur
Mnrtgage Eleetronie Re_i_;istrntion Syslem, Ine. (“M[ERS"} as nominee for Banl-cUnited, l"`SB, personally ltrtelw't\ in
me or proved to me on the basis of satisfactory evidence to be tire individual(s) whose aame(s) is (arc) subscride 10
the within instrument and acknowledged to me that hefsheitl'zey executed the same in hisiltet‘ftl\eit' eapaeily[ie$). and
that by liis/herftheir signature(s) on the instru:iient, lite individnnf(s), or the person upon behetfof which die

individual(s) acted, executed the instrument and that suel‘t individual made Stn:h appearance before the undursigltf&t.l
in the state nf` Arizc>na, and the county uf` Mt\rieupa.

 

 

    

    
    
   

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nnvnm‘nce soeeeeosiine senvrees, inc.
Title Nn. (Fiie No. NfA)

SCHEDULE A
DES C‘RIP’TION

v!‘Jlgelqtr 519 and Lot 20

ALL that certain plot, piece or parcel oftend, with the buildings end improvements thereon erected situste, lying and
being in the Borough and County of Rielunond, C`ity end Statc of New Yoric, bounded end described as follows:

BEGINNlNG at a point on the Northeriy line ofVan Dueer Street 1?3.50 feetEesteriy dorn the corner termed by the
intersection of the Noi“t.herly side oi`Ven Dueer Street end the Eastcrly line ofStonc St:rcet and the coordinates of said
point of beginning are South 11095.396, West 10998.995;

RUNN¥NG 'IHENCE Nordi 12 degrees 30 minutes lii seconds West 93.52 feet to n point;

'i`HENCE South 77 degrees 54 minutes 3 7 seconds West , 1.50 feet to n point;

`f`i-TENCZE North 12 degrees 44 minutes 26 seconds West,` 80.00 feet to a point on the Southerly line ofWillow Street;
T'HENCE along the Southeriy line oi`Willcw Street `Nortii 7'? degrees 54 minutes 37 seconds E`.ast, 25.00 feet to c point;
THE`NCE South 13 degrees 40 minutes 30 seconds Eest, 99.95 feet to the center line cfc party weil;

THENCE South 12 degrees 40 minutes 30 seconds East, partly enough n party wetl, 75.29 i'cet to the Ncrtherly line
oi` Ven Duzer Strcet; d

THENC_E along the Northeriy line oann Duzer Si;reet South 8 7 degrees 52 minutes 00 seconds Wcst, 1165 feet to
a poini; -

'l"l-[ENCE along the Northerly side oFVan Duzcr Strcet South 75 degrees 40 minutes 5 l seeonds, West 13.00 feet to
the point or place of BEGINNING.

Premises known ne 490 Ven Duzer Street. Staten leland, New York

 

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lBtl Stuy'vesant P|.nce t
Stetcn Islnnd, NY 1030|

 

 

 

 

 

 

 

 

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Reootding and Endorsement Cover Page

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‘ Racording Raquestad By:
Mt`ssion Giobai LLC - FNMA

When Rocorded Rcturrt To:

B. Forriio

Mitsion Gtot:iat LLC

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ttttettrnond, New Yorlt
Mtaainn Gtobat LLC » FNMA#: . "HCJLLER." tnvestor”s t.oan #: New Sor\rieor‘s itc

i‘_tate el Asslt;;nrnertt: Septombor otti, 2018

Assignor: D|TECH FINANCiAL LLC Fti<i.t‘\ Gi¥£':`til~i 'l'I"tt'-I|E` $i`rlf\iVlC`,th‘.§ LLC lil‘r' MiSStON GLOEAI_. Ll_C iTS
A`I`|'BRNEY-|N-FACT at 345 STt PETER STREET. SU|TE Ert.td, SAlNT PALJL.. MN 55102,

A$$igneet M`i'Gl.O |NVESTURS. LP at 2001 ROE`»S AVENUE. SU|TE 2000, DALLAS. TX 75201

Ertecutad By: MtCHELt.E R ROLLER§ AN tJNMARFtlt,-`,o WCJMAN to; MdR`fGAGi-l iiit.iiit;'i'FtCtNto i'<ti.Gtt-;‘rlenrtt;nv
SYSTEMS. |NC. AS NOMINEE FOR BAN|(UN|TED. FSB "lTS SUCCESSORS Ahll'_'t ASE|GNS"

Dated: 03»19~2003 Recerctedr 04~1£!-2.008 es |rtstrument Not 240351, BootrititeeiiLiber Nr'A. Pagetitio Nri\ initio
County oi' Richmond, Etalo oi' Now Yortt.

-Assignad Wholi\,l by MDFtTGAGL'-. ELEETRON|C REG|$TRAT{DN f`.r\i't'i`i”i§liil$d |NC, ("MER$“) A$ NGM|NEE FOW
BANKLJNETEFJ. F-‘S['i lo GREEN TREE EEFiVii]-|NG LLG Dated: 10-20-2010 Racordad: 12-20-2010 as instrument No.
35463?¢. EiootriRaa-lf|,,lbar NiA, Pagai'Foiio Ni'A

Etock: 510 Lot: 20
Property Addrtttttts: 400 W\N D’»JZE{R STF¥EIEZT. $TATE‘.`N lSLAND, N‘r' 1030-ti

This Asaignrnenl is not subject to the requirements of Sar:lion 275 ot the Raai F’ro;:itsrtt,r i_aw because l‘t is an
assignment within the secondary mortgage market

KNOW AL|_ MEN BY' THESE PRESENTS. that for good and valuable considerationl tha receipt and sufficiency ol'
which is hereby acknowledged the said designer hereby assigns iii:§to_ttie above-named hssigriee. tire said Mortgage
having an original principal sum oi 5315,000.00 with intarastl secured theraby, and the full benefit ot ali tha powers
and le i:tli lh£t dovét'tdnt§ and pio\.li$d'$ ii‘l€\r€til't dohli:ttl't&d. i‘itt‘td ii"t€t Eaid AG$igl"lDt‘ helide grants and I'-`Ctl’t\r`EV$ lJl`lltfl thth
said Assignea, the .As.slgner‘s interest under the Mortgaga

70 HAVE ftth `TO HCJt.i.'J the said Mortgoge. and the said property unto the said Assigrlee ierever. subteth tc the
terms contained in said Mortgaga. lht W|TNESS WHEREOF\ tha Assignor has executed thasa presents the day and
year first above wriliant _

D|TECH FlNANCtAL Lt_C FfKiA GFtEEN TREE SERV|C|'NG t_LC Ei‘r' MlSSION GLOBAL, LLC_'; l`l`$
ATTGRNE`¢'-tN~FACT PCJA; 7!24{2018 trt Eite;otdf¢teteti[,it;;er; 2015 F'ageiFolio; {]‘i'l‘,tl:t instrument No.t 0920611
Dn Saptambar ii`\lh. 2010

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. y§ § fig 511 .
Robart Backn'tan‘ .Jr.‘ `v'ic,a F'rasido

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STATE OF Fiorlda
CDUNTV OF Hll_LSHUFiOii(.`-il~'i

Dn the Gth day of 5aptambar in tha yaar 2010 before mo. lhe undersigned personally appeared l?ol'tt':t'l Eiit¢i<m$t't.
.tr., \tice Presittont. potentially strewn 10 me ct proved te me en the basis et satisfactory evidence to be the
individual(s) whose name(eji is(ara] subscribad to tha within instrument and acknowledged lo me iitt\l heittheilitey

executed the same in hisrheritheir eenet:ttytiest, end that by hieiheri'tlte|r elgrtoturete) Drt the instrument tito
individu;,rt{s), or the person noon t:et'\;$rl[ot which ina lndlviouai[s) aetad, oxocutad lna lnsiiumant, and that such

iltriivlduate.(o] made such appearance before the undersigned in tito Er:rurlty of l~i|||:=l;totdtigh. E`>lttEE di Fltbtltll£t.

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Tiiia document woo prepared by Elroon Tree Servieing LLC

[SPAUE MHQVE Tt'lt$ LiNE FDR RECORD[HG DATA}

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and (2} the Noto\ bearing lite earner date ee. end secured by. lite $oourity instrument .'
which covers tba real end personal property described iii the Eeourity instrument end defined therein en l`ne

‘i-'ropcrty', located et otto Wit\i Elt_iZ&l'~t S`i' S`T'ATE";N iiil…ni\ll?lt NY tt)$i§i¢i

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too rcr.il property described ooin:_i oct forth ore i'olitiwo: Eiea attachment

in consideration cit ttin mutual promises end agreements exchanged trio portion hereto agree aa follows
{itolwiti'ietanciiriivi anything to tiic contrer contained in the Noto or Sccurity inotrurnent);

'i. .‘\s of ii'r'ft.'lirizi?i'i?. tito amount payable under the Noin end lite Set:ority instrument (tno “i\iow i'-‘ririclpol
5 Bi=iiai-ico'} is ii.:§. §351‘595`37 correlation of tito unpaid aritount(ei loaned to Eorrowor try tender pitts any
t ' inicreet end other amounts capitalized

2d $Eé,tit:z..':i? of the tith F’rincipo| Eiciaricr-. shell i;io rioforroct (ihe ‘Deferred Pdnoipat Eiaionoo“} otto narrower
Wi|i riot pay interest or nickel nionrtiiy payments cin this einouritt T|'ie i\’ew F*rincii.ioi detainee toes the
Doferred F’rincipoi Bo|ance omit tie referred to aa line ‘iritcrest Elearing t-"n'nolpoi i_`~io|ont:e" and this amount
itt $;iza,non_nn, interest weir ca charged nn the interest nearing Prlncir>ol trainmen et the yeeriir title el
=t.i;i?_SCiCl“./o, from DYrtiliEEJi 2. E.orrowor promises to make monthly payments or' principal otto interest oi`
U.til. :'Stvrt'.?iO.-rii, beginning on inc Ot`tftitrzfti£, ann continuing thereafter on the annie coy ot each
micceearng merritt mini tim interest earning ertnciprti trainan ann eli emmett interest thereon nerve beel‘l

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tr."- `- Pnirl in iui|. Ti-io yearly rote of 4&2£500% witt remain iri effect until ina interoct doctrine t'*rinnipoi Eltir:irico l
t rinci air accrued interest thereon novo been paid in ttill. Tl'le new monthly payment amount once riot .‘
-' , d include any amounts owed for eeorow. Eiurrowcr may refer to tim rrioni|iiy billing statement for lite escrow
ft t t ,. amount oiyori_ 'i“iii:i new trinturiiy Dnii_lr will be ti`rroii;?{ioz. Borrowoi"e payment schedule for the modified

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3` Bdrrnwer agrees to nay in lull inn Dr_\inrrnd Frint:lpnl E:-rlance ann any other amounts etil| eweri under lite
thlie nmi Se¢;:urity fr\t;intrnr-ani by fha eerlle$i o|': [ij title dale Er.\r'rtiwbl' SG||S Ol' il'i?rl'lti-i€l".'.l ill"l iniFirF-‘Eli il'l lite

_ t'»‘rog:iertyr {ii) tho date Eorrowr,\r poth tha entire internal meeting Priitoipal l`.'ielenee. nr iiiil line new i\rleiurliy

`-`* ‘ D:-Jie.

4. li narrower makes n partial prepayment of Prinoipnl, ernder may apply trim partial prepayment iirst in any
Delerretl l-"ririclne| Elalanr:e before enpiying titlel'l partial prepayment fn Oll'ici' amounts <ltJe.

. ii eli or eny pen ol the i-"rrrrrer'.y ctr eny interest in the Preperly is enid er transferred (r.'n” ii Bnl'rewer its net n
natural person end e berleiielei interest in Eierrnwer ita sold er irenelnrred) WiLlliJu'l Lnndnr"e prior llrntien
cr)nt;¢»,ni` l,`t=tnrlt=_er may require immediate payment in litl| rif all sums secured |.‘l;l the ESt£tC’Jl`ity' |l'itii'l'tlrl"l£tr‘ll.

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|f render examiners thin n;)tinn, i_r-.=ndnr dholl give E'.ctn“ower notice oi timeieration. The notice ehell provide
n period rif nol inns than 30 claire irorn the cir-rto lite notice its delivered er nteilec.l within which Bnrrnwer

‘;` must pay rail sums secured by the So<:trrity instt'usnent. lf Hon'ower fails te pay theee eulne prior in inn

ii ' expiration di this poriod, Lr-rncior may in\:c)lto any remedies permitted by the Sec:erily lrreln.lrneni wi!|teul
further notice or demand on Eorrower.

Elon'ewer tinderetencie end agrees ibel:

(n) All tha righir. and rdrnodiao. etiooiotiont',. onil oontiltione mineineri in the Eecurily |nein.trneni relatan in
default in tlio making di poyrnente under the BeC;nrlty lneirun'tent shell elect apply le default in lite
making of the modified neyrnente itereunrler,

tn}f\l| oovortente. ttg§r'een'ter\te. etintc|etione. end enndiiinne in lite Nl.‘llrr end S¢Cui"liy ir\Slr'th"neni til'm|l bn nnri
remain in fell force and effect exigent as herein moditlttd, end none or' the iderrnwer’e obligations nr
llnhttirie.=r i_rnclnr the Nntn and Eooority instrument shall be diminished or released by enyr provisions
harnni, nnr shall thin Agrnernont in any Woy lrn;:r:tlrl d!:ttlnleh. or effect any ei ilenrier'e righfe nnd'er er
remedies on the r\lnte and Eoourity instrument wnetiter nunn rights er remediee arise ll\r!reunder er by
operation di law. Aitan. all rights nl recourse to Whir:.i'i l..enrler le ereeent|y enlllier.l egelnel any property
or any ottror personal in any Wey obligated ier, ctr liable nn. lite Neie end ECClrrily lnei.n.lint:l‘il ere
expressly reserved by l..enrler.

  

{t;) Nnthing in this Ag}rrgentel11 shall be understood or construed to be a satisfaction or rr.:|c‘:r-lett in Wi‘lt?|€r Cll' in
part of the Not\e sand BE\‘.:tiril.y inetrunmnl‘.

id) Alt costs and rr-.tpenst~rn incurred by Ldndor ln connection with tnie Agreornent. including recording feee.
title examination and attorneys lend shall ne nni<l by tile Borrower end snell be secured by the
Seourlly inelrurnent, unions stipulated otherwise by |wencier.

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LO|'\N MGD¢FlC.I‘\'ilUN AG!'+E:'EME|"|'i'-Eir\(|io Ftt.l"l1ii],"F.'!rll\-lo M.w UNl'r'-L'thi lNETl-'iU).‘ii‘:NT' l=<?rr\'\ 51¢"~| l"¢]l(l'l'.tv. l)`il'|?i))

CaSe 1-19-40750-nh| DOC 10-2 Filed 03/22/19 Entered 03/22/19 11212:13

` i{e)`Etor-rnwor agrees to rnal<e oan execute stroh other documents or papers ea`rrtay be necessary or
required to effectuate the terms and conditions of this ngreernet'it which, ii approved and accepted by
Ldndsr. shell bind and inure in the hairs. executors adn‘ttnistretors, and assigns ortho F_iorrower.

` - Eidrmwtir Wiii ivey id Lr<“.i"ldt‘ir Orr the day payments are due under thc Loan Docurnents as amended by this
'.'r°lfii"@ii!i‘l¢"i. viii-ii tila L<Jiait is haiti |n iui|. a sum ftha "Funds") to provide for payment of amounts due lot': (a)
irrth and assessments end ether items which don attain priority over the ivlonesqo as a lien or
encumbrance on the Fror:erty; ibt leasehold payments or ground rents on the F'roporty, tr eny'. tci
FtrWTliilm'-i ii-ir Htty and all insurance required by tender under the Loan Licr:otnontc; (tt) mortgage
'ir`iiillr`itil¢€t iiriii“iuirihi. ii ril'ly, ar any aurns payable to i.entier in lieu of the payment cf mortgage insurance
Df'=`riiiilifi't$ iii HCCiJ!'dEHCE Wii|i lim Lttart DO¢LIrnents: and (e) any community association ducs_ ioes. and
- . BsSdS-Sfd'dnia lil'di L@i'lii€~‘r requires itt |Ji:t datirawed. These items are called `Escrow ltams.“ ticrrowor shall
. Df”"llmiiiiitr il-iriii~‘ih in Litrtd€r ~‘3|| hciiGit:i di amounts lo be paid under this narcoranh. Bor'rower chart ney
header rita l-'”"unds for i'_"acrow |terns unless Lsndsr waives Eiorrower's obligation lo pay the Fonrls i`or any or
, _ all iiscrcw horne t_ondar may waive Eiorrowor's obligation to pay tc Lenrier i=unrls for any or atl Escrow
‘ - items al any tirnc. Any audit waiver may only be in vvrltlng. in the event of such weiver, t_=.orrnwer shell pay
directlyl vrhen and Wliare oayehle, the amounts due for any Escrcw items for which payment er Funrie has
bean Walv€td by ‘-.itndr.=r and. ii Lsnder rectuiree, entail furnish to tender receipts evidencing such payment
within such time period as Lsndsr may require Borrower's obligation to metro such payments and to
Fll't'tvid&i l'EDF-*iFliti Eil'li:'lil for ali| purposes '.‘)B deemed in he a covenant and agreement r_tonttslner_i in the lyman
y f_`locuntonts. as the phrase `covenent and agrcornont' is used in the i.oen Docnmente. ii Berrowar is
ri db|ititlidd to nev F_“scrow items r.‘lirecily. pursuant to a tvaivor_ ana borrower falls to ney the amount due for
lM en tissva |lt.'rrrl. i_dndcr may exercise its rights under thc L.oan Uocutnonts and this Agreernerrt sod pey
5 - such amount end Einnnwar shell than be ohilr;alecl to repay to l_enttor any such amount Lender may
§ ` `. revoke fhc waiver as id any or all Esoraw items at any time by a notice given in accordance with tire t_oen
t DOCurrishls. and. upon euth revocation. Eiorrovver shall pay to i.sndor all hands end in such amounts that
are then required under this pamprepn,

 

Lcndcr' may. et any llrne, collect end hold Funr_ts in an amount (a) sufficient to permit Leno`ur to apply the
iiimd$ itt the lime specified under the Reoi tistate F.ieitlernent Procouores Act (‘RESF'A'], end {h) nn+, te
resorted the ttlssirnurn arnnunl s lender can require under Rl';`:£`>l:'n. lender shall estimate the amount or
Ft,tnds tide on the basis of current data and reasonable estimates of expenditures of future i"£scrow horne
or otherwise ln accordance with anpllcable lew.

Thc hands shall he held in en institution whose deposits are insured by a federal agoncy, instrumentality
or entity tlln:iuding Lendar. if Lenoer is an institution whose deposits are so insur'cd) or in any Fodorel
|'torrtc l_nsn iiart|t. i_endar shall apply the Funds lo pay the Er'scrow lion-is no inter than thc time specified
t.ll‘!dtilt' FtESP.i\. Lor‘tr.ltsr S|‘tt‘.t|| r“lr:lt things Bctrmwer for holding and applying the Furin‘e, immunity analyzing
the escrow acct)ur‘.t. dr verifying lite Eacrow iianta, unless Lendar attys Borrower interest on thc i‘-‘unds and
FipFliil'iEibiEl law permits L_t’:ttt_‘ir.tl‘ to rnaltls such a charge Lin|oee art agreement is marie in writing or
EPPiii.iabiF.. low requires interest to t'.it‘.l paid urt lite Fun:ts, Llsnril_’r shall not be required tn pay Einrrnwer any
interest or earnings on the Funcis. it.enclor and tiiortcwar can agree in writing, itowever. that interest shell
he paid on tha Furtds. l.en:iar shalt provide Eiorrower, Wilhoul chargel an annual accounting of the Funrls
as required try iitlESl'-“'A.

li` ittch ls a surplus ul Funda held in ascrow. as defined under FZESPA. tender shall account to t_icrrcwer
for iiie cheese itttit|s iri accordance with F;tESF'A. it there is rs shortage of Furtcis held in tast;myy, as defined
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r t antaunl necessary to metro tip ihs shortage in accordance with |?iti~`_\SPA, out in no more then 12 monthly
payments ii there is a deiiclency of Funds held in oscrov.r. as defined under HESi'-"A, tender shell notify
l'.ir.trrowor ss required by REBF'A. and Eorrower shall pay to t.onder the amount necessary to make up the
dcf'i{.‘|l'-..‘l'it'.‘y ir‘= accordance with RESPA. but In rio more than 13 monthty payments

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Upcirl tinytrteht itt it.lt| ut eli sums secured by the l..nert l'_'ltsr;unie,-nts, bender e|t;_ttl prorrtpli_y refund to
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` _is obligated to h'iraite under title Security |i'is*_ri_irnerit; t'iowsver', tito following terms €iitt`i l'_il‘€t\fitii\'-ti`|l‘§ i`ir& initi\rtti
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§ [.'_t) all terms end provisions c:ii' the Note and Becuri`ty |rislrurrtortt (if Blty) providing inr, impirti|‘t`i€tliiil'it]. Ol"

` rotating io, any change or adjustment in the rate or interest payable under the tha. inr.‘|dtiiriti. inherit
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(ht sit terms one provisions et any adjustable rate ricier. or Tirne|y i"'ayrrlani Fiavvordtt i"l|rior. where
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` pan pry the l\tote or Saeuh`ty instrument and that contains any such terms and provisions its those
' referred to in (s) above

 

. Eiorrower understands and agrees their

(o)/.t|t the rights and remedies elir_tuistionsl end conditions contained in the Eacurity instrument relating to
defsl_ttt in the making pt payments under the Securtty instrument shall also apply to default in the
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{tt)Aii covenants agreements stipulations and conditions in the nieto and Seourity instrument shati be and
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itereoi, nor shell this nprt-temont in any way impair, diminisii. or et'ioct any of l_eno`er’s rights under or
remedies on the Nnte and Eecurity instrument whether such rights or remedies arise thereunder or l'.ty
operation of law. r-'\lso. all rights of recourse to thich tender is presently entitled against any property
or any other persons in any way obligated ier. or liable dn. titu state and SBCtlrity instrument arts
expresst reserved try Li;‘rtdt'tr.

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{o) Nothing in this agreement shell he understood or construed to be a satisfaction or release in Wl`tt'.‘-id or ll‘l
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(d)Ait costs and expenses incorrect ‘oy Londer in connection with thitt Adrdtilnrilil. in€"iUi'iint:i i“¢iJFf-iil`iti i¢ii~'i»
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t ' Security instrument unless stiputated otherwise by Lender_

(o) sai-iowa agrees to execute soon other documents ne may be reasonably narrowed to either iii
consummate the terms and conditions of this spree-mentz or (ii) correct the terms end conditions oi title
P|an if an error is detected atlas cessation of this Agroernent. | understand that a corrected A§tr\ootrlont'
will be provided to me and this ngrsement witt he void and of no legal effect upon notice of such error,
|l'i elect not te sign any such corrected Agreomeni, the terms ortho original Loari documents shell
continue in full force and sifeot. such terms will not tie modified by this r\greenienti and l will net he
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